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EXHIBIT B

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Life lnsurance Company ofNorth America
leGl Chestnut Street ' Philadelphia, PA l9i92 * (215) 76i»l{}{?0

N'OTICE CONCERNING POLICYHOLI}ER RIGH’I`S IN AN
INSOLVENCY UNDER THE MINNESOTA LIFE ANZ} HEALTH
INSURANCE GUARANTY ASSOCLATIGN LAW

lt the insurer who issued your life, annuity or health insurance policy becomes impaired or insolvent you are
entitled to compensation for your policy from the assets of that insurer The amount you recover wili depend
on the financial condition of the insurer.

ln addition, residents of lvlinnesota who purchase life insurance, annuities or health insurance from
insurance companies authorized to do business in Minnesota are protected, SUB}ECT TO LIMITS AND
EXCLUSIONS, in the event the insurer becomes financially impaired or insolvent. This protection is
provided by the Minnesota Life and Health lnsurance Guaranty Association.

Minnesota Lit`e & Health lnsurance Guaranty Association
4760 White Bear Parkway, Suite lOl
White Bear Lal<e, MN 551l0
(651) 407-3 l49

The maximum amount the guaranty association will pay for all policies issued on one life by the same
insurer is limited to $300,000. Subiect to this $300.000 limit, the Guaranty Association Will pay up to
$300,000 in life insurance death benefits, $lO{),()OO in net cash surrender and net cash Withdrawal values for
life insurance, $300,000 in health insurance benefits, including any net cash surrender and net cash
withdrawal values, $100,000 in annuity net cash surrender and net cash Withdrawal values, $300,000 in
present values of annuity benefits for annuities Which are part of a structured settlement or for annuities in
regard to which periodic annuity beneiits, for a period of not less than the annuitant's lifetime or for a period
certain ol" not less than ten years, have begun to be paid on or beforethe date of impairment or insolvency, or
if no coverage limit has been specified for a covered policy or beneiit, the coverage limit shall be $300,000
in present value. Unallocated annuity contracts issued to retirement plans, other than defined benefit plans,
established under section 401, 403(b), or 45'? of the internal Revenue Code of 1986, as amended through
December 3 l, 1992, are covered up to $lO0,000 in net cash surrender and net cash withdrawal yalues, for
Minnesota residents covered by the plan provided, however, that the association shall not be responsible for
more than $7,500,000 in claims from all Minnesota residents covered by the plan. if total claims exceed
$'7,500,000 the S'/’,SOG,GOO shall be prorated among all claimants These are the maximum claim amounts
Coverage by the guaranty association is also subject to other substantial limitations and exclusions and
requires continued residency in Minnesota. lt` your claim exceeds the guaranty associations limits, you may
still recover a part or all of that amount from the proceeds of the liquidation of the insolvent insurer, if any
exist Funds to pay claims may not be immediately available The guaranty association assesses insurers
licensed to sell life and health insurance in Minnesota after the insolvency occurs Claims are paid from this
assessment

THE CGVERAGE PROVI}}ED BY 'I`HE GUARANTY ASS{`)CIATX{)N IS NOT A SUBSTITUTE
FOR USIN(; CARE IN SELECTING INSURANCE C{)MPANIES THAT ARE WELL MANAGEJ)
ANB FINANCIALLY STABLE. IN SELECTING AN INSURANCE COMPANY OR POLICY, YOU
SH{}ULD NOT RELY ON COVERAGE BY THE GUARANTY ASSOCIATION.

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THIS NOTICE IS REQUIRE}) BY MINNESOTA STATE LAW 'I`O AI)VISE POLICYHOLDERS
{)F LIFE, ANNUI'I`Y OR HEALTH INS'URANCE POLICIES OF THEIR RIGHTS IN THE EVENT
THEIR INSURANCE CARRIER BECOMES FINANCIALLY INSOLVEN'I`. 'I`HIS N{)TICE IN N{)
WAY IMPLIES THAT THE COMPANY CURRENTLY HAS ANY ’I`YPE OF FINANCIAL
PROBLEMS. ALL LIFE, ANNU}TY ANB HEALTH }NSURANCE POLICIES ARE REQUIRED
'I`O PROVII}E THIS N(}TICE.

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mrs leuaaNcn coMPANv or isoan linench

last cnssrnur steiner GRoUP ronth
PurLADsLsniA, PA 19192-2235

(soo) 732~1603 ron (soa) 552-sara

n sToCK INsunANCe CoMPANY

POLICYHOLDER: SUPERVALU lnc.
POLICY NUMBER: LK~980076
POLICY EFFECTIVE DATE: January l, 2008
POLICY ANNIVERSARY DATE: January l

This Policy describes the terms and conditions of coverage lt is issued in Minnesota and shall be governed
by its laws. The Policy goes into effect on the Policy Effective Date, lZ:Ol a.m. at the Policyholder‘s
address

In return for the required premium, the lnsurance Company and the Policyholder have agreed to all the terms
ot` this Policy.

TL-OD47GG 97 v-l

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SCHEDULE OF BENEFITS

Premium Due Date

Premiums are due in arrears on the date coinciding With the day of the Policy Anniversary Date or the last
day of the month, if earlier.

Classes of Eligible Assoeiates

On the pages following the definition of eligible Associates there is a Sehedule of Benefits for each Class
of Eligi`ole Associates listed below For an explanation ot` these benetits, please see the Deseription of
Benelits provision

if an Associate is eligible under one Class oi` Eligible Associates and later becomes eligible under a
different Class of Eligible Associates, changes in his or her insurance due to the class change Will be
effective on the first of the month following the change in class.

Class l

Class 2

Class 4

Class 5

Ciass 6

Class 7

All active, salaried exempt Associates of the Employer defined as Acrne, Advantage
Logistics, biggs, Cub, Farrn Fresh, Home Ot`iice, Hornbachers, Jewel, Osco non-
Pharmacies, Save-A-Lot, Shaw’s/Star Markets, Shop ’n Save St. Louis, Shop ’n Save
Pittsburgh, Shopper's/El Primero, Suntlower Market, SUPERVALU exempt and non-
exempt Pharmacies (excluding OSco Pharmacies), Supply Chain Services, Total Logistics
Control and W. Newell & Co., salaried exempt Advantage Logistics Rocky Mountain
non-union and salaried exempt Advantage Logistics Colorado South (Fountain) non-
union.

All active, non-exempt hourly Associates of the Employer defined as Acme, Advantage
Logistics, Albertson's Retail West, biggs, Cub, Farrn Fresh, Home Oftice, Hornbachers,
Jewel, OSco non-Phannacies, Save~A-Lot, Shaw's Star l\/larkets, Shop ’n Save St. Louis,
Shop ‘n Save Pittsburgh, Shoppers/El Primero, Suntlower Market, SUPERVALU exempt
and non-exempt Pharmacies (excluding Osco Pharmacies), Supply Chain Services, Total
Logistics Control, W. Newell & Co., non-exempt hourly ~Advantage Logistics Rocky
Mountain non-union and non-exempt hourly Advantage Logistics Colorado South
(Fountain) non-union.

All active, Full-time Advantage Logistics Rocky Mountain hourly-paid warehouse
Associates of Local 435 & Associates of Local l.

All active, Full-tirne St. Louis Distribution Center Union Local 610 Drivers of the
Employer.

All active Full-time St, Louis §)istrih'ution Center Union hocal 683 Warehouse
Associates of the Ernployerr

All active, Fuil-tirne St. Louis Distribution Center locals 618 and District 9 Lube and
Tire Associates of the Ernployer.

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Class 8

Class 9

Class 10

All aetive, Jewel non-union and union Assooiates in the following Beneiit Programs:
Fuli-time Quad City Clerks, Full-time Bloomington-Normal Clerl<s, Full-time UFCW
Loeal 881 Chieagoland Clerks, Pull-time UFCW Looai 881 Miehigan City Clerks, Full-
time Loeal 431 Ciinton lowa Cleri»:s, Loeai 597 Pipeiitters, Carpenters Couneil of
Chicago, Fuli~time Loeal 700 Miehigan City Meateutters, Fuli-tiine Local i546 Chieago
Meateut£ers, Full~time Loeal 431 Moline!Clinton Meatcutters, Fuil~time Locai 536
Bloomington,/Normai Meateutters, Teainsters Loeal 710 Drivers, Dispatehers and
Warehouse Assooiates, Loeai 701 Auto Meehanies, Loeal 399 Engineers, Loeai 61 l
Paintezs and Woodlinishers, Full-time i?uel Center Super\fisor, 'l`eamste:r Loeal 710
Drivers, Dispatehers and Warehouse Assoeiates, Teamsters Loeal 710 Casuai Drivers,
Ful]-tirne Kosher Supervisor, Full~time Seourity Guards, Fuli-time Oflice hourly
Assoeiates, Full-time and Part-time Quad City Cieri<s-Fuel Center Assoeiates, Part-time
Loc31431 Clinton EA Cierks, Part-time Loeal 536 Bloomington!i~iormal Meateutters,
Part-time Quad City Clerks, Part-time Bioomington/Nonnal Clerks, Part-time Loeal 431
MolinefClinton Meateutters, Pax“t-time Kosher Supervisor, Part-time Security Guards,
Part-tirne Ofiiee hourly Assoeiates, Full-time & Part~time hourly non-union American
Drug Store Assoeiates, Fuil-time and Part-time hourly Califomia Ameriean Drug Store
Assoeiates, Full-time and Part-time hourly Chieago Ameriean Drug Stoz'e Associates,
Full-time and Part-time hourly Local 881 American Drug Store Associates, Fuii-time and
Part~time hourly union Ameriean Drug Store Associates all regularly working a
minimum of 30 hours per Week.

All aetive, Jewel Union Local 881 Associates in the following Beneiit Programs: Full-
time and Part-time UFCW Local 881 Chioagoland Clerks, Full-time and Part-tirne
UFCW Local 881 Miehigan City Clerks, Full-time and Part-time Loeal 700 Michigan
City Meatcutters, Full-time and Part-tirne Loeal 1546 Chieago Meatcutters, Full-time and
Part-time UFCW Local 881 Fuel Center Attendants.

All severed Exeeutives including Change in Control as defined by the Employer and
Insurance Company. (This is a closed class.)

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SCHEDULE OF BENEFITS FOR CLASS 1

Eligibiiity Waiting Period

For exempt salaried Assoeiates of the Bmployer defined as Advantage Logisties, exempt salaried
Advantage Logistios Roel<y lvionntain non-union, exempt salaried Advantage logistics Colorado South
(Fountain) non-union, biggs, Culz, Home Office, Save-A-Lot, Shop ‘n Save St. Louis, Sunflower Mari<et
and Suppiy Chain Services, Totai Logisties Controi, W. Newell and Co. who work 39.0i or more hours
per weeli:

For Assoeiates hired on or before the Poiiey Effeetive Date: 'i`he first of the month foliowing
60 days of Aetive Serviee.

For Associates hired after the Poliey Effeotive Date: The first of the month following
60 days of Active Serviee.

For exempt salaried Assoeiates of the Employer defined as Advantage Logisties, exempt salaried
Advantage Logisties Roel<y Mountain non-union, exempt saiaried Advantage Logisties Colorado South
(Fountain) non-union, higgs, Cul), Home Offiee, Save-A-Lot, Shop ’n Save St. Louls, Sunflower Mari;et
and Supply Chain Serviees, Totai Logistios Control, W. Newell and Co. Who work 32 to 39 hours per
week:

F or Associates hired on or before the Poliey Effeetive Date: The first of the month following
6 months of Aetive Serviee.

For Associates hired after the Policy Effective Date: The first of the month following
6 months of Aotive Serviee.

For exempt salaried Shop 'n Save Full-time Pittsburgh, Aeme, Albertson‘s Retail West, Farm Fresh,
Hombachers and Shoppers!El Prirnero who Work 39.01 or more hours per week:

For Associates hired on or before the Policy Effeetive Date: 'l`he first of the month following
30 days of Aotive Service.

For Associates hired after the Poliey Effective Date: The first of the month following
30 days of Aetive Service.

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For exempt salaried Shop ‘n Save Full-time Pittsburgh, Acrne, Albertson’s Retail West, Farm Fresh,
Hombachers, and Shoppers!El Prirnero who work 30 to 39 hours per weele

l~`or Associates hired on or before the Poliey Effective Date: 'fhe first of the month following
6 months of Actiye Serviee.

For Associates hired after the Policy Effective Date: The first of the month following
6 months of Active Seryiee.

For exempt salaried SUPERVALU Pharmacies (excluding Osco Pharmacies), Jewel, Osco non-
Pharmacies and Shaws!Star Marl<et who work 30 or more hours per week:

For Assoeiates hired on or before the Policy Effective Date: "fhe first of the month following
30 days of Active Service.

For Associates hired after the Policy Effeetive Date: The first of the month following
30 days of Active Service,

'l`he Eligibility Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 60 days as an Eligible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Period prior to termination, layoff or approved leave of absence as described above lf
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate Will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

Definition of Disability/Disabled

An Associate is Disabled if, because of lnjury or Sicl<ness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
lnjury or Sickness, he or she is unable to earn more than 80% of his or her lndexed Covered
Earnings; and

2. after Disability Benefits have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for which he or she may reasonably become qualified based on
education, training or experience, or solely due to lnjury or Sickness, he or she is unable to earn
more than 60% of his or her indexed Covered Earnings.

Def'mition of Covered Earnings - For Miieage Drivers Only

Covered Earnings means one-twelfth of an Associate’s gross earnings received from the Employer for the
calendar yearjust prior to the date Disability begins lf the Associate was not employed by the Employer
for the full year, the gross earnings will be 845,000.

Definition of Covered Earnings - For all other Associates

Coyered Earnings means an nssociate’s basic monthly earnings plus target bonus as determined by the
Einpioyer for work performed for the §rnpleyer as in effect dinst prior to the date Disabiiity begins lt
includes earnings received from target bonuses and commissions but not overtime pay or other extra
compensation {Commissions will be included for Cornrnissioned Associates only and will be averaged
for the 12 months just prior to the date Disabillty begins, or the months employed if less than 12 months.}
'i`arget bonus is defined by either a percentage of base pay or a flat dollar amount lt is an amount the
Employer would expect to pay the Assoeiate should the Ernployer attain l00% of their objectives in their
respective bonus plan, Pereentage range of ri`arget Bonus is from 3% to 125% of base pay.

Any increase in an Assoeiate's Covered Earnings will not be effective during a period of continuous
l;.`)isa"oilitya

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Benelit Waiting Period 26 weeks

Disability Benefit The lesser of 60% of an Associate’s monthly Covered Earnings
rounded to the nearest dollar or the Maximurn Disability Benelit,
reduced by any Gther income Benefits.

"Other lncome Benefits“ means any benefits listed in the Other lncome Benefits provision that an
Associate receives on his or her own behalf or for dependents or which the Associate’s dependents
receive because of the Associate’s entitlement to Other income Benefitsl

Maximum Disability Beneiit 330,090 per month
Minimurn Disability Benel`it $180 per month

Work Incentive Benejirs

For the first 24 months the Associate is eligible for a Disability Benetit, the Disability Benefit is as
figured above lf for any month during this period, the sum of the Associate’s Disability Benetit, current
earnings and any additional Other income Benefits exceeds lOO% of his or her lndexed Covered
Earnings, the Disability Benefit will be reduced by the excess amount

Af`ter the first 24 months, the Disability Benefit is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to work. lf the sum of the Associate's Disability
Benefit, current earnings and any additional Other lncome Benefits exceeds 80% of his or her monthly
lndexed Covered Earnings, the Disability Benefit will be reduced by the excess amount figured above

No Disability Benefits will be paid if the lnsurance Company determines the Associate is able to Work
under a modified work arrangement and he or she refuses to do so.

Current earnings include any wage or salary for work performed while Disability Benefits are payable lf
an Associate is working for another employer on a regular basis when Disability begins, current earnings
will include any increase in the amount he or she earns from this work during the period for which
Disability Benefits are payable

Additional Benef"lts
Survz`vor Benejit
Benefit Waiting Period: After 6 Monthly Benefits are payable
Amount of Benefit: 100% of the sum of the last full Disability Benefit plus any
current earnings by which the Disability Benefit was reduced for
that month.
Maximum Benefit Period A single lump sum payment equal to 3 monthly Survivor
Benef`its.

Masirnum Benefit Period

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Aae When Disabilitv Beains Maximnni Benefit Period

Unc§er Age §§ The Assaeiate‘s 65th birthday

Age 60 '§`he date the 69th Monthly Benefit is payable
Age 61 The date the 48th lvienthly Bene§t is payable
Age 62 The date the 42nd Monthiy Beneiit is payable
Age 63 'l"he date the 36th Menthly Benefit is payable
Age 64 '§`he date the 30th Menthly Benet`it is payable
Age 65 ’l`he date the 24th Monthly Bene§t is payable
Age 66 The date the ZIst Monthly Benefit is payable
Age 671 'l`he date the §Sth Menthly Benet`it is payable
Age 68 The date the linn Menthly Benetit is payable
Age 69 er older 'I`he date the 1281 Monthly Benei°it is payable

Initial Premium Rates

The Premium for each Associate is based en the Associate’s Age. The rates are per SIOO of Covered
Payrell as listed below

 

_A_g_e Rate for Covered Pavroll Ameunts un to SZOG.OOO annually
Age l9 and Under $.0?7

Age 20 ~ 29 3092

Age 30 ~ 39 $.239

Age 40 ~ 49 $.549

Age 50 - 59 $l.024

Age 60 and over $.754

Covered Payroll for an Assoeiate Will mean his or her Co\fered Earnings for the insurance month prior to
the date the determination is made However, an Associate’s Covered Payroll Will not include any part of
his or her monthly Covered Earnings which exceed $16,66'7.

F<)r Associates earnings more than $200,000 per year, the rate for Cevered Earnings between $16,668 and
$50,000 Will be $1.04 per SIOO of Coverecl Payroll.

TL-G£M?N

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SCHEDULE OF BENEFITS FOR CLASS 2

Eiigil)ility Waiting Period

For non-exempt hourly Assoeiates of the Employer defined as Advantage Logistics, non-exempt hourly
Advantage logistics Roolcy Monntain non-union, non-exempt hourly Advantage logistics Colorado
South (Foontain) non-onion, higgs, Cul), Home Offioe, Save-A-Lot (ineloding Save-A-Lot lviileage
Drivers), Shop ‘n Save St. Louis, Sunf`lower Marl~;et and Sopply Chain Serviees {ineluding Supply Chain
Mileage Drivers), Total Logisties Control, W. Newell and Co. Who work 39.Gl or more hours per week:

For Associates hired on or before the Policy Eff`eotive Date: The first of the month following
60 days of Aetive Service.

F or Associates hired after the Policy Ef`fective Date: 'l`he first of the month following
60 days of Aotive Servioe.

For non-exempt hourly Associates of` the Employer defined as Advantage Logistios, non-exempt hourly
Advantage Logisties Rocl<y Mountain non-union, non-exempt hourly Advantage logistics Colorado
South (Fountain) non-union, biggs, Cub, Home Of`fice, Save-A-Lot (including Save-A-Lot Mileage
Drivers), Shop 'n Save St. Louis, Sunfiower Market and Supply Chain Services (including Supply Chain
Mileage Drivers), Total Logistics Control, W. Newell and Co. who work 32-39 hours per week:

For Assooiates hired on or before the Policy Eff`ective Date: The first of the month following
6 months of` Active Service.

For Associates hired after the Policy Eff`ective Date: The first of` the month following
6 months of Active Service.

F or non-exempt hourly Acme, Albertson‘s Retail West, Farm Fresh, Hombaohers and Shoppers/El
Primero Who work 39.0l or more hours per Weel<:

For Associates hired on or before the Policy Eff`ective Date: The first of` the month following
30 days of Active Service.

For Assooiates hired after the Polioy Effective Date: The first of the month following
30 days of Active Service.

For non-exempt hourly Acme, Albertson's Retail West, Farrn Fresh, Hombachers and Shoppers/El
Primero who Worl< 30-39 hours per week:

For Associates hired on or before the Poliey Effective Date: The first of the month following
6 months of Aetive Servioe.

For Assoeiates hired after the Polioy Er“f`eotive i)ate: 'l`he first of the month following
6 months of Aetive Serxfioe,

For Full-time Assoeiates of Shop ’n Sa\re Pittsburgh location:
For Assooiates hired on or before the Poliey Effeotive Date: After 30 days of Aotive Serviee.

For Assoeiates hired after the Poliey Ef`f`eetive Date: After 30 days of Active Service.

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For Part-tlme Associates of Shop ’n Save Pittsburgh location who work 16 - 39 hours per week:

For Associates hired on or before the Policy Effective Date: After 365 days of Active
Service.

For Associates hired after the Policy Effective Date: After 365 days of Active
Service.

For Associates of lewel (non-union office hourly), and non-exempt hourly non-union Associates of Gsco
and Shaw‘s!Star lvlarkets, excluding Jewel-Osco Part-time Pharrnacists who work 30 or more hours per
week:

For Associates hired on or before the Policy Eff`ective Date: The first of the month following
90 days of Active Service.

For Associates hired after the Policy Effective Date: ”l`he first of the month following
90 days of Active Service.

The Eligibility Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 60 days as an Eligible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Periocl prior to termination, layoff or approved leave of absence as described above lf
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

Definition of Disability/Disabled

An Associate is Disabled if', because of Injury or Sickness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
Injury or Sicl<ness, he or She is unable to earn more than 80% of his or her lndexed Covered
Earnings; and

2. after Disability Benefits have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for which he or she may reasonably become qualified based on
education, training or experience, or solely due to lnjury or Sickness, he or she is unable to earn
more than 60% of his or her indexed Covered Earnings.

Definition of Covered Earnings - For Mileage Drivers Only

Covered Earnings means one-twelfth of an Associate’s gross earnings received from the Ernployer for the
calendar year just prior to the date Disability begins If the Associate was not employed as a mileage
driver by the Employer for the full year, the gross earnings will be $45,000.

Def`inition of Covered Earnings - For all other Associates

Covered Earnings means an Associate's hourly rate of pay as reported by the Einployer for work
performed for the Employer as in effect just prior to the date l}isability begins times 49 hours if regularly
working 39,§}§ or more hours per weeks For Associates working 30!32 to 39 hours per weel;? Cevered
Earnings means an Associate’s hourly rate of pay as reported by the Eniployer for work performed for the
Employer as in effect just prior to the date Disahility begins times 35 hours lt does not include amounts
received as bonus, commissions, overtime pay or other extra compensation (Comrnissions will be
included for Commissioned Associates only and will be averaged for the 12 months just prior to the date
Disability begins, or the months employed if less than 12 months.) Covered Earnings are determined
initially on the date an Associate applies for coverage A change in the amount of Covered Earnings is
effective on the first of the month following the cbauge, if the Employer gives the insurance Cornpany
written notice of the change and the required premium is paid

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Any increase in an Associate's Covered Earnings will not be effective during a period of continuous
Disability.

lienth Waiting Period 26 weeks

})isabiiity Benel'rt The iesser of 60% of an Associate’s monthly Covered §arnings
rounded to the nearest dollar or the lvfaxirnurn Disability Benetit,
reduced by any Gther income Benetits.

”Other income Beneiits" means any benefits listed in the Other lncorne Benelits provision that an
Associate receives on his or her own behalf or for dependents, or which the Associate's dependents
receive because of the Associate's entitlement to Other lncorne Benetits.

Maxirnum Disahility Benei“rt 82,500 per month
Minimum Disability Benefit 3]00 per month

Wor'k incentive Benefr`rs

For the first 24 months the Associate is eligible for a Disability Beneiit, the Disability Benetit is as
figured above lf for any month during this period, the sum of the Associate's Disability Benetit, current
earnings and any additional Other lncome Benetits exceeds 100% of his or her Indexed Covered
Earnings, the Disability Benet`rt will be reduced by the excess amount

Atter the first 24 months, the Disability Benefit is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to work. lf the sum of the Associate’s Disability
Benefit, current earnings and any additional Other Income Beneiits exceeds 80% of his or her monthly
lndexed Covered Earnings, the Disability Beneiit will be reduced by the excess amount figured above.

No Disability Benet`its will be paid if the lnsurance Company determines the Associate is able to work
under a modified work arrangement and he or she refuses to do so.

Current earnings include any wage or salary for work performed while Disability Beneiits are payable lf
an Associate is working for another employer on a regular basis when Disability begins, current earnings

will include any increase in the amount he or she earns from this work during the period for which
Disability Benetits are payable

Additional Benefits

Survr'vor Berzejit

Benetit Waiting Period; After 6 l\/Ionthly Benetits are payable

Arnount of Benei`rt: 100% of the sum of the last full Disability Beneiit plus any
current earnings by which the Disability Benefit was reduced for
that month

Manirnnm Beneiit Period A single lamp stan payment equal to 3 monthly Survivor
Benei`its.

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Maximum Benefit Period

 

A;ze When Disabilitv Beains Maximu:rn Benefxt Period

Under Age 60 The Assoeiate's 65th birthday

Age 60 The date the 60th Monthiy Benei`it is payable

Age 61 ’l`he date the <$Sth Mon¥hly Benefit is payahie.
Age 62 The date the 42nd Monthly Benei`lt is payable
Age 63 The date the 36th Monthfy Benefit is payable
Age 63 The date the 30th Monthly Benefit is payabie.

Age 65 'i‘he date the 24th Monthiy Benefit is payable

Age 66 The date ihe 213t Monthiy Beneiit is payable

Age 67 The date the 18th Monthly Benetit is payable
Age 68 "f`he date the 15th Monthly Benez‘it is payable
Age 69 or oider The date the 12th Monthly Beneiit is payable

Initial Premium Rates

The Premium for each Associate is based on the Assoeiate’s Age. The rates are per $lOO of Covered
Payroli as listed below.

age aaa
Age 19 and Under $.07

Age 20 - 29 3.083
Age 30 - 39 $.216
Age 40 - 49 s.496
Age 50 _ 59 s.92

Age 60 and over $.676

Covered Payroll for an Associate Will mean his or her Covered Earnings for the insurance month prior to
the date the determination is made. However, an Associate’s Covered Payroll will not include any part of
his or her monthly Covered Earnings Which exceed $4,167.

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SCHEDULE ()F BENEFITS FOR CLASS 4

Eligibility Waiting Period

For Associates hired on or before the Policy §ffective Date: After 6 months of Active
Service.

For Associates hired after the Policy Effectiye Date: After 6 months of Active
Service.

The Eligibility Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
Within 60 days or returns from an approved unpaid leave of absence Witho'ut continued SUPERVALU
benefits Within 60 days as an Eligible Class of Associate and the fortner Associate has satisfied the
Eligibility Waiting Period prior to termination, layoff or approved leave of absence as described above lf
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligihility Waiting Period and
hours requirements

Definition of Disability/Disabled

An Associate is Disabled if, because of lnjury or Sickness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
Injury or Sickness, he or she is unable to earn more than 80% of his or her lndexed Covered
Earnings; and

2. after Disability Benelits have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for Which he or she may reasonably become qualified based on
education, training or experience, or solely due to lnjury or Sickness, he or she is unable to earn
more than 60% of his or her lndexed Covered Earnings.

Definition of Covered Earnings

Covered Earnings means an Associate’s hourly rate of pay as reported by the Employer for Work
performed for the Employer as in effect just prior to the date Disability begins times 40 hours if regularly
working 40 or more hours per week calculated on a monthly basis. Covered Eamings are determined
initially on the date an Associate applies for coverage A change in the amount of Covered Eamings is
effective on the first of the month following the change, if the Employer gives the lnsurance Company
written notice of the change and the required premium is paid.

It does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate’s Covered Earnings will not be effective during a period of continuous
Disability.

Benefit Waitiag Period 90 days

Bisahility Benefit The lesser of 66.6'?% of an Associate’s monthly Covered
Earnings retarded to the nearest doiiar or the eiaximum
Disahility Benefit, reduced by any Other income Benetits.

"Other income Beneiits" means any benefits listed in the Other lncome Benetits provision that an

Associate receives on his or her own behalf or for dependents, or Whieh the Associate’s dependents

receive becaose of the Associate’s entitlement to Other lncome Beneiits.

Masimurn Disability Benefit 37,5{}0 per month

eliminate Bisahi§ity §enefit §ii}§ per month
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Work incentive Bene}?rs

For the first 24 months the Associate is eligible for a Disability Benefit, the Disability Benefit is as
figured above lf for any month during this period, the sum of the Associate‘s Disabiiity Benefit, current
earnings and any additional Other become Benefits exceeds 100% of his or her lndexed Covered
Earnings, the Disability Benefit will be reduced by the excess amount

After the first 24 months the Disability Benef1t is as figured aboye, reduced by 50% of his or her current
earnings received during any month he or she returns to Worl<;. lf the sum of the Associate's Disability
Benefit, current earnings and any additional Otlier lncorne Benefits exceeds 80% of his or her monthly
indexed Covered Earnings, the Disability Benef1t will be reduced by the excess amount figured aboye.

No Disability Benefits Wili be paid if the insurance Cornpany determines the Associate is able to work
under a modified Worl< arrangement and he or she refuses to do so.

Current earnings include any wage or salary for Worit performed while Disability Benefits are payable lf
an Associate is working for another employer on a regular basis when Disability begins, current earnings
Will include any increase in the amount he or she earns from this Worl<; during the period for which
Disability Beneflts are payable

Additional Benefits
Sarvivor Benej?r
Benef1t Waiting Period: After 6 Monthly Benefits are payable
Amount of Benefit: 100% of the sum of the last full Disability Benef1t plus any
current earnings by which the Disability Benef1t Was reduced for
that month
Maximum Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Benetits.

Maximum Benef1t Period

 

Age When Disability Begins Maximum Benef1t Period

Under Age 60 The Associate's 65th birthday

Age 60 The date the 60th Monthly Benef1t is payable

Age 61 The date the 48th Monthly Benef1t is payable
Age 62 The date the 42nd Monthly Benef1t is payable
Age 63 'l`he date the 36th Monthly Benef1t is payable
Age 64 The date the 30th Monthly Benef1t is payable
Age 65 The date the 24th Monthly Benef1t is payable
Age 66 'l'he date the 2lst Monthly Benef1t is payable

Age 67 The date the 18th Monthly Benef1t is payable
Age 68 The date the 15th Monthly Benefit is payable
Age 69 or older The date the 12th Monthly Benef1t is payable

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Initia¥ Preminm Rates

The Premium for each Associate is based on the Associate’$ Age. The rates are per $10() of Covered
Payyoi} as Iisted beiow.

é§§ Bé§§
Age 19 ami Under $.0'?
Age 20 »- 29 3.{}83
Age 30 - 39 3.216
Age 40 - 49 3.496
Age 50 - 59 $.92
Age 60 and over $.6’?6

Covered Payroli for an Associate will mean his or her Covered Eamings for the insurance mon£h prior to
the date the determination is made` However, an Associate's Covered Payrol} will not include any part of
his or her monthly Covered Eamings Which exceed $11,249.

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SCHEDULE GF BENEFITS F{)R CLASS 5

Eiigibility Waiting Period
For Associates hired on or before the Policy Effectiye Date: After 30 days of Actiye Service.
F or Associates hired after the Poiicy Efi`ectiye Date: Ai’ter 30 days of Actiye Service.

'l`he Eligibiiity Waiting Period does not appiy if a fenner Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence Without continued SUPERVALU
benefits within 60 days as an Eiigible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Period prior to termination, layoff or approved leave of absence as described above if
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet ail eligibility criteria including satisfying the Eiigibility Waiting Period and
hours requirements

Definition of Disabiiity/Disabied

An Associate is Disabled if, because of ln}'ury or Sickness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
lnjury or Sickness, he or she is unable to earn more than 80% of his or her indexed Covered
Earnings; and

2. after Disability Beneiits have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for which he or she may reasonably become qualified based on
education, training or experience, or solely due to Injury or Sickness, he or she is unable to earn
more than 60% of his or her lndexed Covered Earnings.

Det`inition of Covered Earnings

Covered Earnings means an Associate's hourly rate of pay as reported by the Employer for work
performed for the Employer as in effectjust prior to the date Disability begins times 40 hours per week if
regularly working 40 or more hours per week calculated on a weekly basis Covered Earnings are
determined initially on the date an Associate applies for coverage A change in the amount of Covered
Earnings is effective on the first of the month following the change, if the Employer gives the Insurance
Company written notice of the change and the required premium is paid

lt does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate’s Covered Earnings Will not be effective during a period of continuous
Disability.

Benef1t Waiting Period 26 Weel<;s

Disability Benefit 'l`he iesser of 50% of an Associate’s monthly Covered Earnings
rounded to tire nearer dn§iar or the Maaimnrn Disabiiity Benet`it,

lt`, for any month, the sain o§ the Disabied Associate*s Disabiiity
Beneiit and {}tiier income Beneiits exceed 70% of his or her
monthly Covered Earnings, the Disability Bene:tit Wiil be
reduced by the excess amount

"Other lncorne Beneiits'* means any benefits listed in the Gther income Benetits provision that an
Associate receives on his or her own beiralt` or for dependents, or Wnicii the Associate’s dependents
receive because of the Associate’s entitlement to Gther income Benet`rts.

Masirnuns B§sai:ziiity Benefit §§i§{§§ Yer senate
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Minimum Disabiiity Benef1t 'l`he greater of $l00 or 15% of an Associate’s Monthly Benef1t
prior to any reductions for Other income Beneiits.

Worfr measure Bene]?ts

For the first 24 months the Assoeiate is eligible t`or a Disabiiity Beneiit, the Disabiiiry Beneiit is as
figured above if for any month during this period, the sum of the Assoeiate’s Disabiiity Benetit, current
earnings and any additionai Other Incorne Beneiits exceeds l00% of his or her indexed Covered
Barnings, the Disability Benef1t will be reduced by the excess amount

After the first 24 months, the Disabiiity Bener°it is as figured aboye, reduced by 50% of his or her current
earnings received during any month he or she returns to work If the sum of the Associate's Disability
Beneiit, current earnings and any additional Other lncome Beneiits exceeds 80% of his or her monthly
indexed Covered Earnings, the Disability Beneiit Wili be reduced by the excess amount figured above

No Disability Benetits will be paid if the Insurance Company determines the Associate is able to work
under a modified Work arrangement and he or she refuses to do so.

Current earnings include any wage or salary for work performed while Disability Benefits are payable If
an Associate is working for another employer on a regular basis When Disability begins, current earnings
will include any increase in the amount he or she earns from this work during the period for which
Disability Benefits are payable

Additional Benefits
Survz'vor Beneft
Benef1t Waiting Period: After 6 Monthly Beneiits are payable
Arnount of Beneiit: 100% of the sum of the last full Disability Benef1t plus any
current earnings by Which the Disability Benef1t was reduced for
that month.
Maximum Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Beneiits.

Maximum Benefit Period

Age When Disability Begins Maximum Benef1t Period

Under Age 60 The Associate‘s 65th birthday

Age 60 The date the 60th Monthly Benef1t is payable
Age 61 The date the 48th l\/[onthly Benef1t is payable
Age 62 The date the 42nd Monthly Benefit is payable
Age 63 The date the 36th Monthly Benef1t is payable
Age 64 The date the 30th Monthly Benef1t is payable
Age 65 The date the 24th Monthly Benef1t is payable
Age §§ The date the 2lst Montbly Benef1t is payabie.
rage 13'? '§`he date the 18th h§onthly Benet`it is payable
rage §§ "l"he date the lStn 'Menthly Beneiit is payab§e.
Age §§ or older ?he date the iZth Monthly Benei`it is payable

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Initial Premium Rates

’l`he Prerninrn for each Associate is based on the Associate’s Age. The rates are per 3100 of Covered
i’ayroll as listed below

des _Rai§
Age l9 and Under S.O?
Age 20 - 29 $.933
Age so - 39 sets
Age ao - 49 seas
Age 50 ~ 59 $.92
Age 60 and over S.676

Covered Payroll for an Associate Will mean his or her Covered Earnings for the insurance month prior to
the date the determination is made However, an Associate's Covered Payroll will not include any part of
his or her monthly Covered Earnings Which exceed $7,000.

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SCHEDULE OF BENEFITS FOR CLASS 6

Eiigibi}ity Waiting Period
For Associates hired on or before the Policy Efi`ective Date: Ai`ter 30 days of Active Service.
For Assoeiates hired after tire Policy Eii`ectiye Date: After 30 days of Active Serviee.

’l`he Eligibility Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 60 days as an Eligibie Class of Associate and the fortner Associate has satisfied the
Eligibility Waiting Period prior to termination layoff or approved leave of absence as described above if
the period of termination, layoff or unpaid leave ot absence is after 60 days, the Associate will be treated
as a new hire and must meet ali eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

Definition of Disability/Disabled

An Associate is Disabled ii`, because of injury or Sicirness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
lnjury or Sicl;ness, he or she is unable to earn more than 80% of his or her Indexed Covered
Earnings; and

2. alter Disability Beneiits have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for Which he or she may reasonably become qualified based on
education, training or experience, or solely due to lnjury or Sickness, he or she is unable to earn
more than 60% of his or her lndexed Covered Earnings.

Dei'mition of Covered Earnings

Covered Earnings means an Associate‘s hourly rate of pay as reported by the Ernployer for work
performed for the Employer as in effectjust prior to the date Disability begins times 40 hours if regularly
working 40 or more hours per week calculated on a Weekly basis. Covered Eamings are determined
initially on the date an Associate applies for coverage A change in the amount ot` Covered Earnings is
effective on the first of the month following the change, if the Employer gives the insurance Company
written notice of the change and the required premium is paid.

lt does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate’s Covered Earnings will not be effective during a period of continuous
Disability.

Benefit Waiting Period 26 weeks

Disahility Beneth 'i`he lesser of 50% of an Asseciate’s monthly Covered Earnings
rounded to tire nearer dollar or tire hdaxinium i`)isabiiity Beneiit.

ii`, for any menth, the sum et the Disabied Associate*s Disaeility
Beneiit and Other income Beneiits exceed ?{}% of his or her
monthly Covered `Earnings, the Disability Benef1t Will be
reduced by tire excess amount

“Other lneome Benetits** means any benefits listed in the Otiier income Benetits provision that an
Associate receives on his or her own behalf or for dependents or vehicle the Associate*s dependents
receive because of the Associate’s entitlement to {}tiier income Benetits,

naminer Bisai:ri§it§ Benei“rt §2,§§3§ per month
i?

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Minimum Disability Benef1t The greater of $lOO or 15% of an Associate’s Monthly Benef1t
prior to any reductions for Other lneorne Benefits.

Work lacentive Benefz`is

For the first 24 months the Associate is eligible for a Disability Benefit, the Disability Benetit is as
figured above lf for any month during this period, the sum of the Assoeiate's Disability Benetit, current
earnings and any additional Other income Benetits exceeds lOG% of his or her lndexed Covered
Earnings, the Disability Benef1t Will be reduced by the excess amount

After the first 24 months, the Disability Benetit is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to work. lt` the sum of the Assoeiate‘s Disability
Beneiit, current earnings and any additional Other income Benefits exceeds 80% of his or her monthly
lndexed Covered Earnings, the Disability Benefit will be reduced by the excess amount figured above.

No Disability Beneiits will be paid if the lnsurance Cornpany determines the Associate is able to work
under a modified work arrangement and he or she refuses to do so.

Current earnings include any wage or salary for Work performed While Disability Benelits are payable If
an Assoeiate is working for another employer on a regular basis When Disability begins, current earnings
Will include any increase in the amount he or she earns from this work during the period for which
Disability Benetits are payable

Additional Benefits
Survivor Benefz`r
Benef1t Waiting Period: Aiter 6 Monthly Benetits are payable
Amount of Benetit: 100% of the sum of the last full Disability Benef1t plus any
current earnings by which the Disability Benef1t Was reduced for
that month.
Maximum Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Benetits.

Maximum Benef1t Period

 

Age When Disabilitv Beains Maxirnurn Benefit Period

Under Age 60 The Associate's 65th birthday

Age 60 The date the 60th Monthly Benef1t is payable

Age 61 The date the 48th Monthly Benef1t is payable
Age 62 The date the 42nd Monthly Benef1t is payable
Age 63 The date the 36th Monthly Benetit is payable
Age 64 The date the 30th Monthly Benelit is payable
Age 65 The date the 24th Monthly Benef1t is payable
Age 66 The date the 2lst Monthly Benefit is payable

Age 6’? ’i`he date the lXth Monthly Benef1t is payable
Age 68 'l`he date the i§th hdonthly Beoetit is payable
Age 6§* or older The date the thh hdonthly Benef`rt is payable

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Initial Premium Rates

’l`he Prerniurn for each Associate is based on the Associate’s Age. The rates are per SIDG of Covered
Payroli as listed beiow.

dee .E.Rei_€.
Age §§ and finder $,D'?
Age 29 ~ 29 $.£}83
Age 36 ~ 39 $.Zio
Age 40 d 49 S.d%
Age 50 ~ 59 $.92
Age 613 and over $.6’?6

Covered Payroli for an Assoeiate will mean his or her Covered Earnings for the insurance month prior to
the date the determination is made Howeyer, an Associate’s Covered Payroll Will not include any part of
his or her monthly Covered Earnings Whieh exceed $4,290.

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SCHEDULE OF BENEFITS FOR CLASS 7

Eiigibility Waiting Period
For Associates hired on or before the Policy Efl`ectiye Date: Aftcr 3d days of Actiye Service.
For Associates hired alter the i’olicy Effective Date: After 30 days of Actiye Seryice.

The Eligibility Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 66 days as an Eligible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Period prior to termination layoff or approved ieaye of absence as described above lf
the period of tennination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

Definition of Disability/Disabled

An Associate is Disabled if, because of lnjury or Sickness, he or she is unable to perform the material
duties of his or her regular occupation, or solely due to lnjury or Sickness, is unable to earn more than
80% of his or her lndexed Covered Earnings.

Dei`mition of Covered Earniugs

Covered Earnings means an Associate's hourly rate of pay as reported by the Employer for Work
performed for the Employer as in effect just prior to the date Disability begins times 40 hours if regularly
working 40 or more hours per week calculated on a weekly basis. Covered Earnings are determined
initially on the date an Associate applies for coverage A change in the amount of Covered Earnings is
effective on the first of the month following the change, if the Employer gives the lnsurance Company
written notice of the change and the required premium is paid.

lt does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate's Covered Earnings will not be effective during a period of continuous
Disability.

Benef1t Waiting Period 26 weeks

Disabiiity Benef1t 'l`he lesser of 50% of an Associate’s monthly Covered Earnings
rounded to the nearer dollar or the Maximum Disability Benef1t

lf, for any month, the sum of the Disabled Associate’s Disability
Benef1t and Other lncome Benefits exceed 70% of his or her
monthly Covered Earnings, the Disability Benef1t will be
reduced by tire excess amoant.

”Other income Beuetits*’ means any benefits listed in the Gther income Benefits protrision that art
Associate receives on his or her own behalf or for dependents or which the Associate‘s dependents
receive because of the Associate’s entitlement to Other lncorne Benetits.

Maaimum Disabiiity Benef”rt §2,§{}9 per month

Minimum Disabiiity Beaet`zt The greater of Sl€){) or lS% of an Associate*s Monthly Benef1t

prior to any reductions for Other income Benet`its.

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Work lacentz`ve Benefizs

For the first 24 months the Associate is eligible for a Disability Benetit, the Disability Benet'it is as
figured above lf for any month during this period, the sum of the Associate’s Disability Benefit, current
earnings and any additional Other lncome Benefits exceeds l{){}% of his or her indexed Covered
Earnings, the Disability Beneiii will be reduced by the excess amountl

After the first 24 months, the Disability Benef1t is as figured above, reduced by 5€)% of his or her current
earnings received during any month he or she returns to work if the sum of the Associate’s Disability
Benetit, current earnings and any additional Other lncome Benefrts exceeds 80% of his or her monthly
lndexed Covered Earnings, the Disability Beneiit Will be reduced by the excess amount figured above

No Disabiiity Benefits will be paid if the lnsurance Company determines the Associate is able to work
under a modified Worl< arrangement and he or she refuses to do so.

Current earnings include any Wage or salary for work performed Whiie Disability Beneiits are payable lf
an Associate is Working for another employer on a regular basis When Disability begins, current earnings
will include any increase in the amount he or she earns from this work during the period for \vhich
Disability Beneiits are payable

Additional Beneflts
Survivor' Beneth
Benef1t Waiting Period: After 6 Monthly Benefits are payable
Amount of Benef1t 100% of the sum of the last full Disability Benef1t plus any
current earnings by Which the Disability Benefit Was reduced for
that month.
Maximum Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Benelits.

Maximum Benef1t Period

 

Age When Disabilitv Begins Maximum Benef1t Period

Under Age 60 The Associate's 65th birthday.

Age 60 The date the 60th Monthly Benef1t is payable

Age 61 The date the 48th Monthly Benef1t is payable

Age 62 The date the 42nd Monthly Benef1t is payable
Age 63 The date the 36th Monthly Benef1t is payable
Age 64 The date the 30th Monthly Benef1t is payable
Age 65 'l`he date the 24th Monthly Benef1t is payable
Age 66 The date the ZIst Monthly Benef1t is payable

Age 67 The date the 18th Monthly Benef1t is payable
Age 68 The date the 15th Monthly Benef1t is payable
Age 69 or older 'l`he date the 12th Monthly Benef1t is payable

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Initial Premium Rates

The Premiurn for each Associate is based en the Associate’s Age. The rates are per 3100 of Covered
Payrc»li as listed beiow.

§§ eeg
Age 19 and Under S.O'?

Age 20 ~ 29 S.OBS
Age 30 ~ 39 S.ZIG
Age 40 - 49 $.496
Age 50 - 59 $.92

Age 60 and ever $.676

Covered Payrcli for an Associate Will mean his 01" her Covered Eamings for the insurance month prior to
the date the determination is made However, an Associate’s Covered Payroll will not include any part cf
his or her monthly Covered Eamings which exceed $4,200.

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SCHEDULE OF BENEFITS FOR CLASS 8

Eiigii)ility Waiting Period

For Associates hired on or before the Poiicy Eftective Date: The first of the month follovring
the Measnrement Period, as
defined by the Empioyer.

For Associates hired after the Policy Et`i`ective Date: , The first of the month following
the Measurement Period, as
defined by the Eniployer.

The Eligibiiity Waiting Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 60 days as an Eligible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Period prior to termination, layoff or approved ieave of absence as described above. lf
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

I)efinition of Disability/Disabled

An Associate is Disabled ii`, because of lnjury or Sickness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
Injury or Sickness, he or she is unable to earn more than 80% of his or her lndexed Covered
Earnings; and

2. after Disability Benet`lts have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for Which he or she may reasonably become qualified based on
education, training or experience, or solely due to Injury or Sickness, he or she is unable to earn
more than 60% of his or her lndexed Covered Earnings.

Defmition of Covered Earnings

Covered Earnings means an Associate‘s hourly rate of pay as reported by the Employer for work
performed for the Employer as in effect just prior to the date Disability begins times the average hours
Worked per month in the 13 vreek period immediately prior to Disability. Covered Earnings are
determined initially on the date an Associate applies for coverage A change in the amount of Covered
Earnings is effective on the first of the month following the change, if the Employer gives the Insurance
Company written notice of the change and the required premium is paid.

lt does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate’s Covered Earnings will not be effective during a period of continuous
Disabiiityz

Benef1t Waiting ?eriod 2d Wee§<s

Disabiiity Benei`it The lesser of 60% ot` an Associate’s monthiy Covered Earnings
rounded to the nearest dollar or the Maximum Disability Benetit,
reduced by any Other Income Benetits.

“Gther Income Benetits" means any benefits listed in the Other lncome Benetits provision that an
Associate receives on his or her own behaii` or for dependents, or Which the Associate's dependents
receive because of the Associate’s entitiement to {}ther income Beneiits.

§§daxirnarn Bisahiiity Bene§'it §2,;5§§ per month
23

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Minimum Disability Benefit $l{)(l per month

Work lucenrr've Benejiz‘s

For the first 24 months the Associate is eligible for a Disability Beneiit, the Disability Beneitit is as
figured above lt` for any month during this period, the sum of the Associate‘s Disability Beneiit, current
earnings and any additional ()ther income Benefits exceeds lG{)°/@ of his or her lndexed Covered
Earnings, the Disability Benef1t will be reduced by the excess amount

Aiter the first 24 months, the Disability Benef1t is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to wori<. lt the sum of the Associate's Disabiiity
Bene:tit, current earnings and any additional Other lucerne Benetits exceeds 80% of his or her monthly
lndexed Covered Earnings, the Disabiliq* Benefit will be reduced by the excess amount figured above

No Disability Beneiits will be paid if the lnsurance Company determines the Associate is able to Work
under a modified work arrangement and he or she refuses to do so.

Current earnings include any wage or salary for work performed While Disability Beneiits are payable lt`
an Associate is working for another employer on a regular basis when Disability begins, current earnings
will include any increase in the amount he or she earns from this work during the period for which
Disability Benet`rts are payable

Additional Benefits
Sw'vz'vor Benej€t
Benef1t Waiting Period: After 6 Monthly Benetits are payable
Amount of Beneiit: 100% of the sum of the last full Disability Benef1t plus any
current earnings by which the Disability Benef1t was reduced for
that month.
Maxirnum Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Benetits.

Maximum Benefit Period

 

Age When Disability Begins Maximurn Benef1t Period

Under Age 60 The Associate’s 65th birthday

Age 60 The date the 60th Monthly Benef1t is payable
Age 6l The date the 48th Monthly Benef1t is payable
Age 62 The date the 42nd Monthly Benef1t is payable
Age 63 The date the 36th Monthly Benef1t is payable
Age 64 The date the 30th Monthly Benef1t is payable
Age 65 The date the 24th Monthly Benef1t is payable
Age 66 ’l`he date the 21 st Monthly Benef1t is payable
Age 67 The date the lSth Monthiy Benef1t is payable
Age 68 'l`he date the lSth Monthly Benef1t is payable

Age §§ or older 'l`he date the lEth hdonthly Beneiit is payable

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Initial Premiu:n Rates

'l`he Premiurn for each Assoeiate is based on the Associate’s Age. 'l`he rates are per $iGG of Covered
Payroii as listed below

des gate
Age 19 and Under S.G’?
Age 26 ~ 29 $.083
Age 30 - 39 $.216
rage ao ~ as ease
Age 50 - 59 392
Age 60 and over $.676

Covered Payroli for an Associate \yill mean his or her Covered Earnings for the insurance month prior to
the date the determination is made Howeyer, an Assoeiate’s Covered Payroll Will not include any part of
his or her monthly Covered Earnings Which exceed $4,167.

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SCHED{}LE OF BENEFITS FOR CLASS 9

Eligibility Waiting Period

For Associates hired on or before the Policy Effective Date: ’l`he first of the month following
the Measurement Period, as
defined by the Employer.

F or Associates hired after the Poiicy Effective Date: The first of the month following

the Measurement Period, as
defined by the Employer.

The Eligibility Waitlng Period does not apply if a former Associate is terminated or laid off and is rehired
within 60 days or returns from an approved unpaid leave of absence without continued SUPERVALU
benefits within 60 days as an Eiigible Class of Associate and the former Associate has satisfied the
Eligibility Waiting Period prior to termination, layoff or approved leave of absence as described above lf
the period of termination, layoff or unpaid leave of absence is after 60 days, the Associate will be treated
as a new hire and must meet all eligibility criteria, including satisfying the Eligibility Waiting Period and
hours requirements

Definition of Disability)’Disabled

An Associate is Disabled if, because of lnjury or Sickness,

l. he or she is unable to perform the material duties of his or her regular occupation, or solely due to
lnjury or Sickness, he or she is unable to earn more than 80% of his or her lndcxed Covered
Earnings; and

2. after Disability Beneftts have been payable for 24 months, he or she is unable to perform the
material duties of any occupation for which he or she may reasonably become qualified based on
education, training or experience, or solely due to lnjury or Sickness, he or she is unable to earn
more than 60% of his or her lndexed Covered Earnings.

Deflnition of Covered Earnings

Covered Earnings means an Associate‘s hourly rate of pay as reported by the Employer for work
performed for the Employer as in effect just prior to the date Disability begins times the average hours
Workcd per month in the 13 Week period immediately prior to Disability. Covered Earnings are
determined initially on the date an Associate applies for coverage A change in the amount of Covered
Earnings is effective on the first of the month following the change, if the Employer gives the lnsurance
Company Written notice of the change and the required premium is paid.

lt does not include amounts received as bonus, commissions, overtime pay or other extra compensation

Any increase in an Associate’s Covered Earnings will not be effective during a period of continuous
Disability

Benefit Waiting Period 52 weeks

Disab§lity Benefit The lesser of 60% of an Associate's monthly Covered Earnings
rounded to the nearest dollar or the Maximum Disability Beneflt,
reduced by any Other income Beneflts.

"Other lncome Beneflts” means any benefits listed in the Other income Benelits provision that an
Associate receives on his or her own behalf or for dependents, or which the Associate's dependents
receive because of the Associate's entitlement to Other income Benei`its,

alaskaer Bisabi§ity Benefit SZS,€E§G per month
26

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Minimurn Disabiiity Benef1t Sl{}{} per month

Work fncentive Benefz`rs

For the first 24 months the Associate is eligible for a Disability Benetit, the Disabiiity Benef1t is as
figured above if for any month during this period, the sum of the Associate‘s Disability Benetit, current
earnings and any additional Other lncome Benefrts exceeds lOO% of his or her lndexed Covered
Earnings, the Disability Benef1t Wili be reduced by the excess amount

After the first 24 months, the Disabiiity Benetit is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to worl<:. It` the sum of the Associate’s Disability
Benefrt, current earnings and any additional Gther income Benetits exceeds SG% of his or her monthly
indexed Covered Earnings, the Disability Benef1t will be reduced by the excess amount figured above

No Disability Benefrts will be paid if the insurance Company determines the Associate is able to work
under a modified Worl<; arrangement and he or she refuses to do so.

Current earnings include any wage or salary for work performed while Disability Benefits are payable If
an Associate is working for another employer on a regular basis when Disability begins, current earnings
will include any increase in the amount he or she earns from this work during the period for which
Disability Benetits are payable

Additional Benei`lts
Survr`vor Benejit
Benef1t Waiting Period: After 6 Monthly Benetits are payable
Amount of Beneiit: lOO% of the sum of the last full Disability Benef1t plus any
current earnings by Which the Disability Benef1t was reduced for
that month.
Maximurn Benef1t Period A single lump sum payment equal to 3 monthly Survivor
Beneiits.

Maxirnum Benefit Period

Age When Disability Begins Maximum Benef1t Period

Under Age 60 The Associate’s 65th birthday

Age 60 The date the 60th Monthly Benefit is payable
Age 61 The date the 48th Monthly Benef1t is payable
Age 62 The date the 42nd Monthly Benef1t is payable
Age 63 The date the 36th Monthly Benef1t is payable
Age 64 The date the 30th Monthly Benef1t is payable
Age 65 The date the 24th Monthly Benefit is payable
Age 66 The date the 2lst Monthly Benef1t is payable

Age 67 Tbe date the 18th Monthly Beneftt is payabie.
rage 63 The date the i§tii Monthiy Benef1t is payable
Age §§ or aider fire date the tire hdonthly Benetit is payabiei

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Initial Premiuxn Rates

The Premium for each Ass<)ciafe is based en the Assaciate’s Age. The rates are per SIOG of Covered
Payrc)li as Listed beiow.

é§§ B§.f.§
Age 19 and Under S,O’?
Age 20 ~ 29 $.033
Age 30 ~ 39 $.2}6
Age 49 ~ 49 $.496
Ag@ 50 _ 59 392
Age 60 and over 5.676

Covered Payroi§ for an Associate Wi}i mean his or her Covered Eam§ngs for the insurance month prior to
the date the determination is made. However, an Agsociate‘S Covered Payroll Will not include any part of
his or her montth Covered Eamings W§’;§ch exceed S41,667.

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SCHEDULE OF BENEFITS FOR CLASS 10

Eligibility Waiting Period
For Associates hired on or before the Poiicy Eft`ectiye Date: No Waiting Period.
For Associates hired after the Policy Et`fective Date: Not Applicable.

})et`mition of Disabi!ity/Disab!ed

An Associate is Disabled if, because of lnjury or Sickness,

l, he or she is unable to perform the material duties of his or her regular occupation, or solely due to
injury or Sicl~:ness, he or she is unabie to earn more than 80% oi` his or her lndexed Covered
Earnings; and

2. after Disability Benefits have been payable for 24 months, he or she is unable to perform the
materiai duties of any occupation for Which he or she may reasonably become quaiiiied based on
education, training or experience, or solely due to In}`ury or Sickness, he or she is unable to earn
more than 60% of his or her Indexed Covered Earnings.

Def'rnition of Covered Eamings

Covered Earnings means an Associate’s basic monthly earnings plus target bonus as determined by the
Ernployer for work performed for the Employer as in effect just prior to the date Disability begins. lt
does not include earnings received from target bonuses, commissions, overtime pay or other extra
compensation

Any increase in an Associate‘s Covered Earnings Will not be effective during a period of continuous
Disability.

Benef1t Waiting Period 26 weeks

Disability Benefit The lesser of 60% of an Associate‘s monthly Covered Earnings
rounded to the nearest dollar or the Maximum Disability Benefrt,
reduced by any Other lncome Benefits.

"Other lncome Benetits" means any benefits listed in the Other Income Benei`lts provision that an
Associate receives on his or her own behalf or for dependents, or which the Associate’s dependents
receive because of the Associate’s entitlement to Other Income Benefits.

Maximum Disabiiity Benefit $l0,000 per month
Minimum Disability Benefit SlOO per month

Worfc Incentz've Benejirs

For the first 24 months the Associate is eligibie for a Disabi§ity Benerit, the Disabiiity Benerit is as
tignred above if for any month during this period, the sum of the Assoeiate‘s Disability Beneiit, current
earnings and any additionai Gther income Benetits exceeds iG€}% of his or her indexed Covered
Earnings, the i)isabiiity Benef1t wiil be reduced by the excess amount

After the first 24 months, the Disability Benef1t is as figured above, reduced by 50% of his or her current
earnings received during any month he or she returns to work lf the sum of the Associate‘s Disability
Beneiit, current earnings and any additional Other lncorne Beneiits exceeds 80% of his or her monthly
indexed Covered Earnings, the Disability Benef1t will be reduced by the excess amount figured above

i\io i}isah§iity Benetits sain he paid if the insurance Cornpany determines the Associate is abie to work
under a modi§ed sears arrangement and he or she retirees to do sos
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Current earnings ineiude atty wage er saiary far work pe;i`ermed while Disabiiity Benei`tts are payabie. Ii`
an Assoeiate is Wori<iag for aaother empieyer on a reguiaz: basis Wben Disability begins cursent eamiags
Wili include any increase in the amouat be or she earns item this Weri; during the period for Whieh

Disabiiity Benefits are payabie.
Additionai Beae£`its

Sz¢rvz`vor Benefz`t
Benetit Waiting Period:
Amount of Benef1t

Maximum Benef1t Period

Maximum Benef1t Period
Age When Disability Begins

Under Age 60

Age 60

Age 61

Age 62

Age 63

Age 64

Age 65

Age 66

Age 67

Age 68

Age 69 or older

Initial Premium Rates

Ai"ter 6 Mentbly Benei`tts are payabie.

190% eftbe sum ofthe iast fail Disabiiity Benef1t pins any
current earniags by which tire Disabiiity Beaeiit was reduced for
that month

A single lump sum payment equal to 3 monthly Sarvivor
Benei`tts.

Maximttm Benef1t Period

Tite Asseeiate’s 65th birthday

The date the 60th Monthly Benef1t is payable
The date the 48th Manthly Beneth is payabie.
The date the 42nd Monthly Benef1t is payable
The date the 36th Monthly Benef1t is payabie.
The date the 30th Monthly Benef1t is payable
Tbe date the 24th Monthiy Benefit is payable
The date the let Monthly Benef1t is payable
The date the 18th Monthly Benef1t is payable
The date the 15th Menthiy Benef1t is payablel
The date the 12th Monthly Benef1t is payable

The Premium for each Associate is based on the Associate’s Age. The rates are per 3100 of Covered

Payroll as listed below.

A_ge

Age 19 and Under
Age 20 ~ 29

Age 30 ~ 39

Age 40 - 49

Age 50 ~ 59

Age 60 aad eyes

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$.092
$.239
$.549
$l .024
$.754

Ceaereci Payz‘ei§ fay as Asseeiate Wiii mean bia er bee Ceyere€i Earniags fee tite iasaraaee meatb prior ta
tile aate the aeteraziaatiea is macie. Heiaeaer, aa Asseeiate’s €ayesea Payreii Wiii eat iaeiacie any part et
his ar her meatiiiy Ceyered Eamiags which exeee:;i S-’-i»i,ét§’?k

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ELIGIBILITY FOR INSURANCE

An Associate in one of the Classes of Eligible Associates shown in the Schedule of Benefits is eligible to
be insured on the Policy Eit`ectiye Date, or the day after he or she completes the Eligibiiity Waiting
Petiod, if later. "i`he Eligibility Waiting Petiod is the period of time the Associate must be in Actiye
Service to be eligible for coverage lt will be extended by the number of days the Associate is not in
Active Service.

An Associate is not required to satisfy a new Eligibility Waiting Pei'iod if insurance ends because he or
she is no longer in a Ciass cf Eligibie Associates, but continues to be employed and later becomes eligible
under a different Class unless the Eligibility Waiting Period of the new Class has not been met nom the
date of hire

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EFFECTIVE DATE OF INSURANCE

An Associate will be insured on the date he or she becomes eligible, if the Associate is not required to
contribute to the cost of this insurance

An Associate who is required to contribute to the cost of this insurance may elect to be insured only by
authorizing payroll deduction in a form approved by the Employer and the lnsutance Company. The
effective date of this insurance depends on the date coverage is elected

Insurance for an Associate Who applies for coverage within 31 days before he or she becomes eligible is
effective on the latest ot` the following dates.

l. The Policy Effective Date.
2. The date payroll deduction is authorized
3. The date the Ernployer or Insurance Company receives the completed enrollment form.

If an Associate's enrollment form is received more than 31 days after he or she is initially eligible for this
insurance, during any other time, including the Annual Enrollment Period, the lnsurability Requirement
must be satisfied before this insurance is effective If approved, this insurance is effective on the date the
lnsurance Company agrees in Writing to insure the Associate and the premium is paid.

lf an Associate is not in Active Service on the date insurance would otherwise be effective, it will be
effective on the date he or she returns to Active Service for the Employer as an Eligible Class of
Associate and has met the Eligibility Waiting Period.

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TERMINATION OF INSURANCE

The insistence en an Asscciate Wiil end on the earliest date below.

l, Tbe date the Associate is eligible for coyez'age eades a plan intended to replace this coyesage.
2. “i`ize date the i>ciiey is teminated,

3. 'i`he date the Associate is no langer in an eligible class

a. 'i`he day after the petiod for which premiums ate paid

5. The date the Associate is no longer in Active Seryice.

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CONTINUATION OF INSURANCE

Disability insurance continues if an Associate’s Active Service ends due to a Disability for which benefits
under the Policy are or may become payable Prerniurns for the Associate will be waived whiie Disabiiity
Beneiits are payable under this program lf the Associate does not return to Active Service, this insurance
ends when the Disability ends or when benefits are no longer payabie, whichever occurs iirst.

ff an Associate’s Active Service ends due to an Empioyer approved family medical leave of absencc,
insurance for that Associate will continue for up to l2 weeks if the required premium is paid.

if an Associate’s Active Service ends due to a military leave of absence, insurance for that Associate Will
continue for up to 30 days if the required premium is paid.

if an Associate‘s insurance is continued and he or she becomes Disabled during the leave of absence,
Disability Benefits will not begin until the later of the foliowing dates

l. the date the Benef1t Waiting Period is satisfied

2. the date the Associate was scheduled to return to Active Service.

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DESCRIPTION OF BENEFITS

'l`he following provisions explain the benefits available under the Policy. Please see the Schedule of
Benefits for the applicability of these benefits to each class of Insureds.

Disability Benefits

’l`he lnsurance Company Will pay Disability Benefits if an Associate becomes Disabled while covered
under this Policy. A Disabled Associate must satisfy the Benef1t Waiting Period and be under the
Appropriate Care of a Physician. Satisfactory proof of Disability must be provided to the lnsurance
Company, at the Associate’s expense, before benefits will be paid.

The lnsurance Company will require continued proof of the Associate’s Disability for benefits to
continue

Benef1t Waiting Period
The Benetit Waiting Period is the period of time an Associate must be continuously Disabled before
Disability Benetits may be payable The Benef1t Waiting Period is shown in the Schedule of Benefits.

The lnsurance Cornpany will waive the Benef1t Waiting Period for an Associate if benefits under a Prior
Plan were payable on the Policy Effective Date and the Associate returns to Active Service Within 6
months after that date. The return to Active Service must be for more than 14 consecutive days but less
than 6 months The later Disability must be caused by the same or related causes for the Benef1t Waiting
Period to be waived

'I`errninaticn of Bisabiiity Benefits

Disabiiity Benei`its win end on the earliest of the following dates

l. 'i`he date an Associate earns more than the percentage of his or her indexed Covered Earnings
which is used to determine if an Associate is Disabled.

2. 'l`he date the lnsurance Cornpany determines an Associate is not Disabled.

3. The end of the Maxirnum Benef1t Period.

ii. ’l`he date an Associate dies.

5. 'l`he date the Associate refuses to participate in rehabilitation efforts as required by the insurance
Cornpany.

6§ The date the Assoeiate is no §onger receiving Apprepriate Care,

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Snccessive Periods of Disability

Once an Associate is eligibie to receive Disabiiity Benetits under the Policy, separate periods of
Disability resulting ii‘om the same or related ceases ate a continooos period of Disabiiity uniess the
Associate returns to Active Service for moye titan 6 consecutive months

A period oi` Disabiiity is not continuous if separate periods of Disabilitjyf resalt from nnz‘elated causes or
the later Disability occots after coverage under the Poiicy ends.

’l`he Soccessive Periods of Disability provision Wili not apply if an Assoeiate is e§igii)le for covetage
under a plan that replaces this Poiiey.

Mental Iliness, Aleoizoiism and Drng Abuse limitation - For Class 9 011§§;

"i"ne insurance Conipany wiii pay Disabiiity Beneiits on a limited basis dining an Associate’s lifetime for
a Disability caused by, or contributed to by, any one or foote of the following conditions Once 15
monthly Disability Benetits have been paid, no further benefits Wili be payable for any of the following
conditions

Alcoholisin

Anxiety disorders

Deiusional (pai‘anoid) disorders

Depi‘essive disorders

Drug addiction or abuse

Eating disorders

Mental iilness

Somatofonn disorders (psychosomatic illness)

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If, before reaching the lifetime maximum benetit, an Associate is confined in a hospital for more than 14
consecutive days, that period of confinement wili not count against the lifetime limit The confinement
must be for the Appropriate Care of any of the conditions listed above.

Mental Illness, Alcoholism and Drug Abuse Limitation - For Classes 1, 2, 4, 8 and 10 Only

'I`he lnsurance Coinpany will pay Disability Beneiits on a limited basis during an Associate's lifetime for
a Disability caused by, or contributed to by, any one or more of the foliowing conditions Once 24
monthiy Disability Benetits have been paid, no further benefits will be payable for any of the following
conditions

Aieoholism

Anxiety disorders

Deiusional (paranoid) disorders

Depressive disorders

Drug addiction oi' abuse

Eating disorders

Mentai illness

Soinatofonn disorders {ps}feitosoniatic illnesij

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ii be§ote reaching die ii§etiine maximum oenefit, an Assoeiate is confined in a nospitai for more titan iii
consecutive days, that period of continenzent Wiii not count against the lifetime linda 'l`he confinement
must be for the Appropriate Care of any of the conditions listed above

Pre-Existing Condition limitation - For C!ass 4 Oiaiy
"l`he insurance Coinpany Will not pay Disability Benetits for any peiiod of Disabiiity caused by or
contzibuted to by, or tesaiting from, a Pre-Existing Conditiont A ”Pre~existing Condition“ means any
injury or Sici<:ness for Which medical ti'eatnzent2 care ot sewices incioding diagnostic measoi~es,
prescription deans or medicines seas zeeonnnended or teeeived done a iieensed medieai peactitioner
annie 3 months oei`oze die essoeiate*s inost recent effectiae date of iaeerancet

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'i`lie Pre-existing Condition Liniitation Will apply to any added benefits or increases in benefits 'l`his
limitation Wili not apply to a period of Disability that begins after an Associate is actively at work for at
least lZ months after his or her most recent effective date of insurance

Except for any amount of benefit in excess of a Prior Plan's benet`its, the Pre-Existing Condition
Lirnitation will not apply to an Associate covered under a Prior Plan who satisfied the Pre~existing
Condition limitation if any, under that plan lf an Associate, covered under a Prior Plan, did not fully
satisfy the Pre-existing Condition limitation of that plan, credit will be given for any time he did satisfy.

Pre-Existing Condition Lirnitation - For all other Classes

’l`he lnsarance Conipany will not pay Disability Benefits for any period of Disability caused by or
contributed to by, or resulting from, a Pre-Existing Condition. A ”Pre-existing Condition" means any
injury or Sicl<;ness for which medical treatment, care or services including diagnostic measures,
prescription drugs or medicines was recommended or received from a licensed medical practitioner
Within 6 months before the Associate’s most recent effective date of insurance

The Pre-existing Condition Lirnitation Will apply to any added benefits or increases in benefits This
limitation Will not apply to a period of Disability that begins after an Associate is actively at Work for at
least lZ months after his or her most recent effective date of insurance

Except for any amount of benefit in excess of a Prior Plan's benefits, the Pre-Existing Condition
Liniitation will not apply to an Associate covered under a Prior Plan who satisfied the Pre-existing
Condition limitation, if any, under that plan. lf an Associate, covered under a Prior Plan, did not fully
satisfy the Pre-existing Condition limitation of that plan, credit will be given for any time he did satisfy.

Disability Benef1t Calculation

The Disability Benef1t for any month Disability Benefits are payable is shown in the Schedule of
Benefits. Disability Benet`its are based on a 30 day period They Will be prorated if payable for any
period less than a month.

Work Incentive Benef1t

lf an Associate is covered for Work lncentive Benet`its, he or she may return to Work While Disabled and
Disability Benefits will continue The conditions under which an Associate may return to work and the
amount of this benefit are shown in the Schedule of Benefits.

The lnsurance Coinpany will review the Associate's status and Will require satisfactory proof of earnings
and continued Disability.

Other Income Benefits /

While an Associate is Disabled, he or she may be eligible for benefits from other income sources lf so,
the Insurance Cornpany may reduce the Disability Benefits payable by the amount of such Other lncorne
Benefits. The extent to Which Other income Benefits will reduce any Disahility Benefits payable under
the Poiicy is shown in the Schedaie of Benefits,

Other income Benetits inciade:
l. any amounts which the Associate or any dependents, if applicable receive (or are assumed to
receive*) ander:
~ the Canada and Quebec Pension Plans;
~ the Raiiroad Retirernent Act;
~ any local, state, provincial or federal government disability or retirement plan or law as it
pertains to the Ernployer;
~ any sick leave er salary continuation plan of the Einployer;
~ any niorl<; loss provision in mandatory “l\§o~»§`aolt" ante insurance

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2. any Social Security disability benefits the Associate or any third party receives (or is assumed to
receive*) on the Associate‘s behalf or for his or her dependents; or, if applicable, which his or her
dependents receive (or are assumed to receive*) because of the Associate*s entitlementto such
benefits

3. any retirement plan benefit funded by the Employer. "Retirement plan" means any defined tax-
qualiiied benefit or other defined contribution plan sponsored or funded by an Ernployer. lt does
not include an individual deferred compensation agreement, a profit sharing or any other
retirement or savings plan maintained in addition to a defined benefit or other defined
contribution pension plan, or any Associate savings plan including thriit, stock option or stock
bonus plan, individual retirement account or 401(1<) plan and it does not included any Employer
sponsored nonqualitied defined benefit or defined contribution plans whether funded by the
Employer or by the Associate.

4. any proceeds payable under any franchise or group insurance or similar plan if there is other
insurance that applies to the same claim for Disability, and contains the same or similar provision
for reduction because of other insurance, the Insurance Company will pay its pro rata share ot` the
total claim. "Pro rata share“ means the proportion of the total beneiit that the amount payable
under one policy, without other insurance, bears to the total benefits under all such policies

5. any amounts which the Associate or any dependents if applicable, receive (or are assumed to
receive*) under any Workers' Compensation, occupational disease, unemployment compensation
law or similar state or federal law, including all permanent as well as temporary disability
benefits This includes any damages, compromises or settlement paid in place of such benefits,
whether or not liability is admitted

6. for Class l only, any amounts which the Associate receives (or is assumed to receive*) under any
Workers’ Compensation or occupational disease for the same lnjury or Sickness.
7. any amounts paid on account of loss of earnings or earning capacity through settlement,

judgment, arbitration or otherwise, where a third party may be liable, regardless of whether
liability is determined

8. any wage or salary for Work performed lf an Associate is covered for Work Incentive Benetits,
the Insurance Company will only reduce Disability Benetits to the extent provided under the
Work lncentive Benetit in the Schedule of Benetits.

Dependents include any person who receives (or is assumed to receive*) benefits under any applicable
law on account of an Associate‘s entitlement to benefits

* See the Assumed Receipt of Benetits provision
Increases in Other lucerne Benefifs
Alter the first deduction for any Other Income Benetit (except wage or salary) is made, benefits will not
be further reduced during that period of Disability due to any cost of living increase in that Other income
Benef1t

Lnnep Sann Paynrents

*Orher income Benei`its or earnings that are paid in a lump sum wili be prorated oyer the period §or which
the sum is given if no time is stated the lump sum will be prorated monthly over a five year period

lf no specific allocation of a lump sum payment is made, then the total payment will be an Other lncome
Benefit.

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Assamed Rece£pt ofBenejrs

The lnsorance Cornpany wiii assume the Associate {or his or her dependents if applicable) are receiving
Other lacorne Beaeiits if they may be eiigible for thera, These assumed benefits witt be the amount the
Irisurance Company estimates the Associate (or his or her dependentsz if appiicabie} may be eiigible to
receive Disabiiity Benetits xviii be reduced by the amount of any assumed benefits as if they Were
actually received

Except for any wage or salary for Worl< performed white Disabiiity Benetits are payablc, this assumption
xviii not be made if the Associate gives the Iosuraoce Company proof of the followiag events

i. Applieation Was made for these benefits

2. sit Reimbarsernent Agreernent is sigried.

3. Any and aii appeais Were made for these berreiits or the insurance Cornpany determines farther
appea§s wili not be saccesst`ul.

4. Paytnents were denied

The lnsurance Compan§vr will not assume receipt of, nor reduce bene;tits by, any elective, actuarially
reduced, or early retirement benefits under such laws until the Associate actually receives them.

Socia£ Securr’iy Assisrance

The Insuranee Company will, at its discretion, assist the Associate in applying for Social Security
Disability Incorne (SSDI) benefits Disability Benetits Will not be reduced by the assumed receipt of
SSDI benefits while the Associate participates in the Social Security Assistance Program.

The lnsurance Company may require the Associate to tile an appeal if it believes a reversal of a prior
decision is possible If the Associate refuses to participate in, or cooperate with, the Social Security
Assistance Program, the Insurance Company Wili assume receipt of SSDI benefits until the Associate
gives us proof that all administrative remedies are exhausted

Minimum Benefit

The Insurance Company Will pay the Minimum Benef1t regardless of any reductions made for Other
Incomc Benetits, However, if there is an overpayment due, this benefit may be reduced to recover the
overpayment

Recovery of Overpayment

If benefits are overpaid, the Insurance Company has the right to recover the amount overpaid by either of
the following methods

l. A request for lump sum payment ofthe overpaid amount

2. A reduction of any amounts payabie under the Poiicy.

lf there is an overpayment due vvhen an Associate dies, any benefits payable under the Policy will be
reduced to recover the overpayment

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ADDITIONAL BENEFITS

Rehahiiitation During A Period of Disability

If, while an Assoeiate is Disabled, the lnsurance Coinpany determines that he or she is a suitable
candidate for rehabilitation he or she may participate in a Rehabilitation Pian. 'i"ne terms and conditions
of the Rehabilitation Plan must be mutuaiiy agreed upon by the Associate and tire insurance Company.

The lnsnrance Company may require an Associate to participate in a rehabilitation assessment or a
Rehabilitation Plan at our expense The lnsnrance Company Will Work with the Associate, the Ernpioyer
and the Associate’s Physician and others, as appropriate to develop a Reltabilitation Plan. lf the
Associate refuses to participate in the rehabilitation efforts Disability Beneiits will not be payable

The Rehabilitation Pian may, at the insurance Company’s discretion, allow for payment of the Associate’s
medical expense, education expense, moving expense, accommodation expense or family care expense
while he or she participates in the program

A "Rehabilitation Plan” is a written agreement between the Associate and the lnsurance Company in
Which the Insurance Company agrees to provide, arrange or authorize vocational or physical rehabilitation
services

Spouse Rehabilitation Benef1t
While an Associate is Disabled, his or her Spouse may, at the option of the Insurance Company, be
eligible to participate in a Rehabilitation Plan. To be eligible, the following conditions must be met:

l. the Associate must be continuously Disabled for 12 months;

2. the Spouse’s earnings must be 60% or less than the Associate's Covered Earnings; and

3. the Spoose must be determined by the lnsurance Company to be a suitable candidate for
rehabilitation

The Rehabilitation Plan may include, at the Insurance Company's discretion, payment of the Spouse's
education expenses, reasonable job placement expenses and moving expenses lt may also include family
care expenses, if necessary, for the Spouse to be retrained under the Rehabilitation Plan.

Disability Beneiits will be reduced by 50% of a Spouse's earnings from participation in the Rehabilitation
Plan. lf the Associate’s Spouse Was working before the Rehabilitation Plan begins, Disability Benet`lts
Will be reduced by 50% of the increase in income that results from a Spouse's participation in the
program

"Spouse“ means the Associate’s lawful spouse living With the Associate on the date his or her Disability
begins

The Rehabilitation Plan will end if the Associate’s Spouse is not living with the Associate.
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Cenversion Pris’iiege

ii an Assooiateis insurance ends because employment With the Ernployer ends, er an Associate is iaid off
or on an uninsured ieaae of absence5 he or she may be eligibie for long tenn disability conversion
insurance

To be eligible an Associate must have been insured for Dlsability Benetits and actively at work for at
least 12 months An Associate must apply for conversion insurance within 62 days after insurance ends

The benefits ofthe conversion plan will be those benefits offered at the time an Associate applies The
premium Wiii be based on the rates in effect for conversion plans at that time

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Conversion insurance is not available if any ot` the following conditions apply

l. An Associate is retired or age 'l{l or older.

2. An Associate is not in Active Service because of Disability.
3. 'l`he Policy is canceled for any reason

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Sarvivor Benefit

'I`he insurance Cornpany will pay a Survivor Benetit if an Associate dies while Monthiy Benetits are
payable "l`he Associate must have been continuously Disabled for the Survivor Benef1t Waiting Period
before the first benefit is payable Tiiese benefits will be payable for the lviaxirnurn Benetit Period for
Surviv'or Benetits.

Benetits will be paid to the Associate’s Spouse. lf there is no Spouse, benefits will be paid in equal shares
to the Associate’s surviving Chiidren. lf there are no Spouse and no Children, benefits will be paid to the
Associate's estate

“Spouse" means an Associate’s lawful spouse ”Children" means an Associate‘s unmarried children under
age 21 who are chiefly dependent upon the Associate for support and maintenance 'l`he term includes a
stepchild living with the Associate at the time of his or her death

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EXCLUSIONS

The lnsurance Company will not pay Disability Benetits for a Disability that results, directly or indirectly,
from:

l. suicide, attempted suicide, or whenever an Associate injures himself or herself on purpose
2. war or any act of war, whether or not declared
3. an lnjury or Sickness that occurs while engaged in the activities of active duty service in the

military, navy or air force of any country or international organization An lnjury or Siclcness that
occurs while engaged in Reserve or National Guard training is not excluded until training extends
beyond 31 days.

4. active participation in a riot.

5. commission of a felony.

6. revocation, restriction or non-renewal of an Associate's license, permit or certification necessary
to perform the duties of his or her occupation unless due solely to lnjury or Sickness otherwise
covered by the Policy.

7 , a work-related Injury or Sickness. (This does not apply to Class l.)

The lnsurance Company will not pay Disability Beneiits for any period of Disability during which the
Associate:

8. is incarcerated in a penal or corrections institution
9, is not receiving Appropriate Care.
itt fails to cooperate with the insurance Conipany in the administration ot` the elaine Snch

cooperation inciades, but is not limited to, providing any information or docsrnents needed to
determine whether benefits are payable or the actual benefit amount dee

l lt refuses to participate in rehabilitation efforts as required by the insurance Company.

12. refuses to participate in a modified work arrangement

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CLAIM PROVIS¥ONS

Notice of Clairn

Written notice, or notice by any other electronic!telephonie means authorized by the lnsurance Company,
must be giyen to the insurance Cornpany within 3i days after a covered loss occurs or begins or as soon
as reasonably possible lf written notice, or notice by any other electronic/telephonic means authorized
by the insurance Company, is not given in that time, the claim will not be invalidated or reduced if it is
shown that notice was given as soon as was reasonably possible Notice can be given at our horne office
in Philadelphia, Pennsylvania or to our agent Notice should include the Employer’s Name, the Policy
l\lurnber and tire claimants name and address

Claim Forrns

When the insurance Cornpany receives notice of ciaim, the insurance Cornpany will send claim forms for
filing proof of loss. if claim forms are not sent within 15 days after notice is received by the insurance
Company, the proof requirements will be met by submitting within the time required under the "Proof of
Loss" section, written proof, or proof by any other electronic/telephonic means authorized by the
insurance Cornpany, of the nature and extent of the loss.

Ciairnant Cooperation Proyision

Failure of a claimant to cooperate with tire insurance Company in the administration of the claim may
result in termination of the claim. Such cooperation includes, but is not limited to, providing any
information or documents needed to determine whether benefits are payable or the actual benefit amount
due,

Insurance Data

The Employer is required to cooperate with the Insurance Company in the review of claims and
applications for coverage Any information the Insurance Company provides in these areas is
confidential and may not be used or released by the Employer if not permitted by applicable privacy laws.

Proof of Loss

Written proof of loss, or proof by any other electronic/telephonic means authorized by the Insurance
Company, must be given to the Insurance Company within 90 days after the date of the loss for which a
claim is made. If Written proof of loss, or proof by any other electronic/telephonic means authorized by
the Insurance Company, is not given in that 90 day period, the claim will not be invalidated nor reduced if
it is shown that it was giyen as soon as was reasonably possible ln any case, written proof of loss, or
proof by any other electronicftelephonic means authorized by the Insurance Company, must be given not
more than one year after that 90 day period. If written proof of loss, or proof by any other
electronic/telephonic means authorized by the Insurance Company, is provided outside of these time
limits, the claim will be denied These time limits will not apply while the person making the claim lacks
legal capacity

Written proof, or proof by any other electronic/telephonic means authorized by the insurance Company,
that the loss continues must be furnished to the insurance Company at intervals required by us. Within 30
days of a redacted written proof of continued Disabiiity and Appropriate Care by a Pliysician must be
given to the insurance Corripany.

Time of Payment

Disability Benefits will be paid at regular intervals of not less frequently than once a month Any
balance, unpaid at the end of any period for which the insurance Company is liable, will be paid at that
time

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To Whom Payable

Disability Benetits will be paid to the Associate. If any person to Whom benefits are payable is a minor
or, in the opinion of the insurance Company, is not able to give a valid receipt, such payment will be
made to his or her legal guardian However, if no request for payment has been made by the legal
guardian, the lnsurance Company may, at its option, make payment to the person or institution appearing
to have assumed custody and support

lf an Associate dies While any Disability Benefits remain unpaid, the insurance Company may, at its
option, make direct payment to any of the following living relatives of the Associate: spouse, mother,
father, children, brothers or sisters.; or to the executors or administrators of the Associate’s estate The
Insurance Company may reduce the amount payable by any indebtedness due

Payrnent in the manner described above will release the lnsurance Company from all liability for any
payment made

Physical Examination and Autopsy

The lnsurance Company, at its expense, will have the right to examine any person for whom a claim is
pending as often as it may reasonably require The Insurance Company may, at its expense, require an
autopsy unless prohibited by law.

Legal Actions

No action at law or in equity may be brought to recover benefits under the Policy less than 60 days after
Written proof of loss, or proof by any other electronic/telephonic means authorized by the lnsurance
Company, has been furnished as required by the Policy. No such action shall be brought more than 3
years after the time satisfactory proof of loss is required to be furnished

Time Limitations

If any time limit stated in the Policy for giving notice of claim or proof of loss, or for bringing any action
at law or in equity, is less than that permitted by the law of the state in Which the Associate lives when the
Policy is issued, then the time limit provided in the Policy is extended to agree with the minimum
permitted by the law of that state.

Physician/Patient Relationship

The Insurecl will have the right to choose any Physician who is providing medical treatment within the
scope of hisi’her license The Insurance Company will in no way disturb the Physician/patient
relationship

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ADMINISTRATIVE PROVISIONS

Premiums
The premiams for this Poliey will be based on the rates cnrrently in force, the plan and the amoent of
insurance in effect

Cbanges in Premiom Rates

The premium rates may be changed by the Insurance Company from time to time with at least 3l days
advance written notice No change in rates Will be made until 36 months after the Policy Effective Date.
An increase in rates will not be made more often than once in a 12 month period. However, the lnsorance
Company reserves the right to change the rates even during a period for Which the rate is guaranteed if
any of the following events take place.

'l`he terms of the Policy change

§§ dieisione sabsid§ary, affiliated company or eligible class is added or deleted from the ?olicy,
Tbere is a change in the t`actors bearing on the risk assumed

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4. Any federal or state law or regulation is amended to the extent it affects the insurance Company's
benefit obligation
5. The Insurance Cornpany determines that the Employer has failed to promptly furnish any

necessary information requested by the lnsurance Cornpany, or has failed to perform any other
obligations in relation to the Policy.

if an increase or decrease in rates takes place on a date that is not a Prerninnr Due l}ate, a pro rata
adjustment will apply from the date of the change to the next Prentiurn Due Date.

Reporting Requirements

The Ernployer must, upon request, give the Insurance Company any information required to determine
who is insored, the amount of insurance in force and any other information needed to administer the plan
of insurance

Payment of Premium
'l"he first premium is due on the Policy Effective Date. After that, premiums will be due monthly unless
the Employer and the lnsurance Company agree on some other method of premium payment

If any premium is not paid when due, the plan will be canceled as of the Prerniurn Due Date, except as
provided in the Policy Grace Period section

Notice of Cancellation

The Empioyer or the insurance Company may cancel the Policy as of any Prerniurn Due Date by giving
3l days advance written notice If a premium is not paid when due, the Policy will automatically be
canceled as of the Premium Due Date, except as provided in the Policy Grace Period section

Cancellation Will not take effect unless the insurance Company has made a good faith effort to notify all
insured persons at least 30 days before the effective cancellation date. At the time of application for
coverage the Policyholder shall provide an accurate list of the names and home addresses of all persons to
be covered and subsequently, updated such list every twelve months This notification will not be
required if the group policy is replaced or the lnsurance Cornpany has reasonable evidence to indicate it
will be replaced by a substantially similar plan.

ln no event will this provision extend coverage more than 120 days beyond the date coverage would
otherwise cancel based on the terms of the group poiicy. If coverage is extended under this provision,
then the time period during which affected Insureds may exercise any conversion privilege is extended
for the same length of time, plus 30 days

Policy Grace Period

A Policy Grace Period of 31 days will be granted for the payment of the required premiums under this
Policy. 'l`his Policy will be in force during the Policy Grace Period. The Ernployer is liable to the
lnsurance Cornpany for any unpaid premium for the time this Policy was in force.

Grace Pericd for tire insured

lt` the required premium is not paid on tire Prernium Sue Date$ there is a iii day grace period after each
premium due date after the first if the required premium is not paid during the grace periodl insurance
will end on the last day for which premium was paid.

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Reinstatement of Insurance

An Associate‘s insurance may be reinstated if it ends because the Associate is on a military leave of
absence and reinstatement occurs Within 6 months from the date he or she returns from military service
pursuant to the Uniformed Services Employment Act of 1994 (USERRA). For insurance to be reinstated
tire following conditions must be met.

An Associate must be in a Class of Eligible Associates.

The required premium must be paid.

A Written request for reinstatement must be received by the lnsurance Company within 3l days
from the date an Associate returns to Active Service.

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Reinstated insurance xviii be effective on the date the Associate returns to Active Service. lf an Associate
did not fully satisfy the Eligibility Waiting Period or the Pre-Existing Condition Limitation (if any) before
insurance ended due to a military leave of absence, credit vrill be given for any time that was satisfied

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GENERAL PROVISIONS

Entire Contract
The entire contract Will be made up of the Policy, the application of the Employer, a copy of which is
attached to the Policy, and the applications if any, of the Insureds.

Incontestability

All statements made by the Employer or by an insured are representations not Warranties. No statement
will be used to deny or reduce benefits or as a defense to a claim, unless a copy of the instrument
containing the statement has been furnished to the claimant In the event of death or legal incapacity, the
beneficiary or representative must receive the copy.

After two years from an Insured’s effective date of insurance, or from the effective date of any added or
increased benefits, no such statement Will cause insurance to be contested except for fraud or eligibility
for coverage

Misstatement of Age
If an Insured‘s age has been misstated, the Insurance Company will adjust all benefits to the amounts that
would have been purchased for the correct age.

Policy Changes

No change in the Policy will be valid until approved by an executive officer of the lnsurance Company.
This approval must be endorsed on, or attached to, the Policy. No agent may change the Policy or waive
any of its provisions

Workers’ Compensation Insurance
The Poiicy is not in lieu of and does not affect any reoairements for insurance under any Worlrers*
Compensation insarance i,aav,

Certificates

A certificate of insurance will be delivered to the Employer for delivery to insureds Each certificate vrill
list the benefits conditions and limits of the Policy. lt Will state to whom benefits Will be paid.

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Assignment of Benefits

The Insurance Cornpany will not be affected by the assignment of an lnsured‘s certiticate until the
originai assignment or a certified copy of the assignment is filed with the lnsurance Cornpany. 'I`he
insurance Cornpany will not be responsible for the validity or sufficiency of an assignment An
assignment of benefits will operate so long as the assignment remains in force provided insurance under
the Policy is in effect 'l`his insurance may not be levied on, attached garnisheed, or otherwise taken for a
persons debts This prohibition does not apply where contrary to iaw.

CIerical Error
A persons insurance will not be affected by error or delay in keeping records of insurance under the
Policy. li` such an error is foond, the premium will be adjusted fairly

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Certain Internal Revenue Code (IRC) & Internal Revenue Service (IRS) Functions

The lnsurer may agree with the Policyholder to perform certain functions required by the lnternal
Revenue Code and IRS regulations Such functions may include the preparation and filing of wage and
tax statements (Form W~Z) for disability benefit payments made under this Poiicy. ln consideration of the
payment of premiums by the Policyholder, the insurer waives the right to transfer liability with respect to
the employer taxes imposed on the Insurer by IRS Regulation 32. l(e)(l) for monthly Disability payments
made under this Policy. Associate money may not be used to fund the Premium for the services and
payments of this section.

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DEFINITIONS

Please note, certain words used in this document have specific meanings These terms will be capitalized
throughout this document The definition of any word, if not defined in the text where it is used, may be
found either in this Deiinitions section or in the Schedule of Benefits.

Active Service

An Associate will be considered in Active Service with the Ernployer on a day which is one of the

Employer’s scheduled work days if either of the following conditions are met.

l. He or she is actively at work. This means the Associate is performing his or her regular
occupation for the Employer on a Full-time basis, either at one of the Employer’s usual places of
business or at some location to which the Employer's business requires the Associate to travel

2. 'l`he day is a scheduled holiday, vacation day or period of Employer approved paid leave of
absence

An Associate is considered in Active Service on a day which is not one of the Employer's scheduled work
days only if he or she was in Active Service on the preceding scheduled work clay.

Annuai Enro§lxnent Period
’i”he period in each caiendar year when an eligible Associate may enroll for or change benefit eiections
tinder the Policy. ?his period must be agreed upon lay the Ernployer and tire §nsarance Company.

Appropriate Care

Appropriate Care means the determination of an accurate and medically supported diagnosis of the
Associate’s Disability by a Physician, or a plan established by a Physician of ongoing medicai treatment
and care of the Disability that conforms to generally accepted medical standards including frequency of
treatment and care.

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Associate
?or eiigibi§ity purposes an Associate is an Associate of tire Ernpioyer in one of the "Ciasses of Eligibie
Associates." Gtherwise, Associate means an Associate of the Ernp§oyer who is insured under the Policy.

Consamer Priee ladies (CP}-VW

The Consumer Price insert for Urban Wage Earners and Cierical Worl~:ers published by the U.S.
Departrnent of Labor. if the index is discontinued or changed another nationaily pabiished index that is
comparabie to the CPI~W wili be used,

Employer
The Po§icyhoider and any afii§iates or subsidiaries covered under the Policy’.

Fuii-tirne
Full-tirne means the number of hours set by the Employer as a regular work day for Associates in the
Assoeiate’s eligibility ciass.

Indexed Covered Earnings

For the first 12 months Monthly Beneiits are payable Indexed Covered Earnings wiil be equal to Covered
Earnings. After ill Monthly Beneiits are payable, Indexed Covered Earnings Wiil be an Associate's
Covered Earnings plus an increase applied on each anniversary of the date Monthly Benefits became
payable 'i`he amount of each increase Wili be the lesser of:

l. lO% of the Associate's Indexed Covered Earnings during the preceding year of Disability; or
2. the rate of increase in the Consurner Price Index (CPI~W) during the preceding calendar year.
Injury

Any accidentai loss or bodily harm Which results directly and independently of all other causes from an
Accident.

Insurability Requirement

An eligible person Will satisfy the Insurability Requirernent for an amount of coverage on the day the
Insurance Cornpany agrees in Writing to accept him or her as insured for that amount To determine a
person’s acceptability for coverage, the Insurance Company Wiil require evidence of good health and may
require it be provided at the Associate’s expense

Insurance Company
The Insurance Company underwriting the Policy is named on the Policy cover page.

Insured
A person who is eligible for insurance under the Poiicy, for Whom insurance is elected, the required
premium is paid and coverage is in force under the Policy.

Life Status Change
A Lii`e Statos Change is an event recognized by the Ernpioj;er‘s Fiexibie Benetits Pian as quaiit`ying an
Associate so snake changes in benefit seiections at a time other than an enrian Bnroiinient ?eriod.

if there is no Ernpio§;er sponsored §‘lesibie Beneiits i>ian§ or if ii is no ienger in ei?ect, rise foiioefing
events are life Status Changes.

i. Marriage

Divorce, annulment or legal separation

Birtii or adoption of a child

Death of a spouse

Termination of a spouses empioyrnent

A change in the benefit pian availabie to the Associate‘s spouse

A change in the Assoeiate§s or spouses empio§;nzent siaias that affeets eitiier*s e§igi§;zi§ity for
benefits

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Part-tirne
Part-tinie means the number of hours set by the Employer as a reguiar Wori< day for Associates in the
Associaie’s eligibility class

Physician

Piiysician means a licensed doctor practicing within the scope of his or her license and rendering care and
treatment to an Insored that is appropriate for the condition and locaiiry. The term does nor include an
Associate, an Associate‘s spoose, the immediate family (including parents, children, siblings or spouses of
any of the foregoing Whetiier the relationship derives from blood or marriage}, of an Associate or spoase,
or a person living in an Associate‘s household

Prior Pian
"Fhe Prior Plan refers to the plan oi` insurance providing similar benefits sponsored by the Ernployer in
effect directly prior to the Policy Ei`fective Date.

Sickness
Any physical or mental illness or disease lt also includes pregnancy

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Life Insurance Company of North America
a stock insurance company

Rider to Group Policy No. LK 98{)0'76
Effective Date of Rider: Jannary l, 2008

Eligihle Classes to which this Rider applies: All Classes

MODIFICATION OF GROUP DiSABlLl'l`Y POLICY
TO ADD DOMESTIC PAR”{NER AS AN ELIGIBLE PARTICIPANT UNDER THE SPOUSE
REHABILITATION BENEFIT AND AN ELlGlBLE SURVIVOR UNDER THE SURVIVOR
BENEFIT

"l`he Spouse Rehahilitation Benefit and Survivor Beneiit are modified in the Policy as follows;
l . All references to the term "Spouse" are replaced by "Spouse or Domestic Paztner" except for the
following references:
a. The first reference to "Spouse” in the benefit text is changed to "Spouse, or Domestic Partner
if there is no Spouse,".
b. 'l`he text pertaining to the definition of "Spouse" remains unchanged

2. The following definition of Domestic Partner is added

Domestic Partner means a person who meets all of the following criteria:

l. shares the Employee’s permanent residence

2. has resided with the Employee for at least 6 months and is expected to continue to reside
with the Employee indefinitely

3. is financially interdependent with the Employee in each of the following ways:
a. by owning or leasing their permanent residence as joint tenants
b. by each agreeing in writing to assume financial responsibility for the welfare of

the other.

4. is no less than 18 years of age.

5. is legally prohibited from marrying the Associate.

6, is not currently legally married to any other person or the common-law spouse or
domestic partner of another person

7. is not a blood relative any closer than would prohibit legal marriage

8. is mentally competent to enter into a contract according to the laws of the state of
residence

Except for the above this rider does not change the Policy to which it is attached

LIFE INSURANCE COMPANY OF NORTH AMERICA

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SCHEDULE OF AFFILIATES
’l`he following affiliates are covered snider the l’olicy as of Janoary l, 2008.
Ai`iiliate Narne
Advantage Logistics USA West LLC
Advantage Logistics Southeast lnc.
DealS»Nothing Oyer A Dollar
FF Acqnisition Ll,C
Richt`ood lnc.
Risk Planners, lnc.
Save~A-Lot Foods Stores, lnc.
Shop-N~Save Warehouse Foods
Shop-N-Save St. Lonis lnc.
Sho'ppers Food Warehouse Corp.
Sunflower Markets LLC
Super Rite Inc.
SUPERVALU Holdings, lnc.
SUPERVALU Holdings PA LLC
SUPERVALU lNC.
SV Pharmacies
TLC Resources LLC
W. Newell & Co., LLC
Aloertsons, lnc.
l\iew lillll;~»erl:sonsg inc
ABS Finance Co., lnc.
SnperValu Services USA, lnc.
Star Marl<ets Company, lnc.
Siiaw’s Snpermarl<ets, lch

Siiaw’s Eq'niprnent Corporation
fi’i’

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Clifi`ord W. Perharn

Acme Marl<ets

Jewei Food Stores, lnc.
American Drag Stores, lnc.
lewel Osoo Soothwest, lnc.
American Stores Co.
Advantage Logistics USA East LLC
SuperValu Transportation lnc.
Advantage logistics USA Inc,
Foodarama Inc.

Rich Temps Inc.

S`V Ventures Inc.

Gorham Markets LLC

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LIFE INSURANCE COMPANY GF N()RTH AMERICA
(iierein called tire lawrence Cornpany)

AMENDATGRY RIDER

CLAIM PRGCEDURES APPLICA'BLE 'I`O PLANS S$B.¥ECT T{} THE
ASS(}C¥ATE RE'§IREMEN'¥ IN€OME SECURITY AC'Y (“ERXSA”)

’i`he provisions below amend the Policy to which they are attached 'l‘hey apply to all claims for benefits
under the Policy. 'i`he}; supplement other provisions of the Poiicy relating to claims for benefits

'l`his Poiicy has been issued in conjunction with an Associate welfare benefit plan ancient to the Associate
Retirernent income Secarity net of i§?fl ("‘ER§SA”}. ’i"’nis Poiicy is a Pian discontent within the meaning
of ERISA. ns respects the insurance Cornpany, it is the sole contract under which benefits are payable by
the insurance Cornpany. Except for this, it shall not be deemed to affect or supersede other l~’lan
documents

The Plan Administrator has appointed the lnsnrance Cornpany as the named fiduciary for deciding claims
for benefits under the Plan, and for deciding any appeals of denied claims

Review of Claims for Benefits

The insurance Cornpany has 45 days from the date it receives a claim for disability benefits, or 90 days
from the date it receives a claim for any other benetit, to determine whether or not benefits are payable in
accordance with the terms of the Policy. The lnsarance Company may require more time to review the
claim if necessary due to matters beyond its control if this should happen, the lnsorance Cornpany must
provide notice in writing that its review period has been extended for:

(i) up to two more 30 day periods (in the case of a claim for disability benefits); or

(ii) 90 days more (in the case of any other beneiit).
lf this extension is made because additional information most be furnished these extension periods will
begin when the additional information is received The requested information must be furnished within
45 days.

During the review period, the lnsurance Company may require:

(i) a medical examination of the Insured, at its own expense; or

(ii) additional information regarding the claim
lt` a medical examination is required, the lnsttrance Cornpany will notify the insured of the date and time
of the examination and the physicians name and location lt` additional information is required, the
lnsurance Company must notify the claimant, in writing, stating what information is needed and why it is
needed

lf the claim is approved, the lnsnrance Cornpany will pay the appropriate benefit

li` the ctairn is denied in whole or in partj the insistence Contpany will provide written notice within the
review period 'i`lle insurance Cornpany*s written notice will laclede the following intorination:

lt lite specific reason(s) the claire was denied

2, Speciiic reference to the l>olicy provision(s} on which tile denial was based

3. Any additional information required for the claim to be reconsidered, and the reason this
information is necessary

4. in the ease of any eiairn~tor a disability benefit: identification of any internal raie, guideline or

protocol relied on in making the claim decision, and an explanation of any medically»related
exclosion or limitation involved in the decision
5j n statement regarding the right to appeal the decision, and an explanation of the appeal
procedare, including a statement et tire right re bring a cieii action tinder Seciion Sil®§a} oi`
§RESA it the appeal is tendeda
§§

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Appeal Procedure for Beaied Claims

Whenever a claim is denied, there is the right to appeal the decisiort. A written request for appeal must be
made to the lasararrce Corrtpaay within 69 days {lSO days in the case of atty claim for disability benefits)
from the date the denial Was received lf a request is not made Witltin that time, the right to appeal will
have been waived

Orrcc a request has been received by the lnsuraoce Coropany, a prompt and complete review of the claim
will tal;e place This review will give rio deference to the original claim decision. lt Will not be made by
the person Who made the initial claim decisioo, or a subordinate of that person. Dttrlng the revievv, the
claimant (or the claimaat’s duly authorized representative) has the right to review any documents that
have a bearing co the claim, including the documents Which establish and control the Plan. lacy medical
or vocational experts consulted by the lnsurance Company Will be identified lssttes and comments that
might affect the outcome of the review may also be submitted

The lnsarance Compaoy has 69 days (45 days, in the case of any disability benetit) from the date lt
receives a request to review the claim and provide its decision Under special circumstances the
lnsurance Compaoy may require more time to review the claim. If this should happcn, the lnsurancc
Company must provide notice, itt writingy that its review period has been extended for an additional 60
days (45 days in the case of any disability benetlt)` Once its review is complete, the Insurance Cornpany
must statc, lo Writing, the results of the review and indicate the Plan provisions upon Which it based its
decision.

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IMPORTANT CHANGES FOR STATE REQUIREMENTS

If an Associate resides in one of the fo¥iowing Siates, the provisions of the certificate are modified for
residents oi` the foliowing St.ates. The modi§icaiions kisteci appiy only to resi<ients of that Siate.

Indiana residents:
The definition of a “pre»existing condition” unéer the Pre'existing Conoition Limita£iea, if any, may
not consider any period oftirne more than Six (6) months pi*ior io the inserec§’$ most recen£ effective
date of insurance The Pre~Existing Condit§on Limitaiion may not be longez than 12 months ii‘ozn die
insui*ed’s most recent effective date of insurance

Louisiana residents:

The percentage of Indexed Cove:ed Earnings, if any, that quaiiflee an insured to meet the definition
of Disabiiity/Disabied may not be less than 80%.

Texas residents:

Any provision offsetting or otherwise reducing any benefit by an amount payable under an individual
or franchise poiicy Wiil not apply.

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LIFE INSURANCE COMPANY ()F N(}RTH AMERICA
PHILADELPH}A, PA 19}92-2335

We, SUPERVALU Ine., whose main office address is Edea Preirie, MN, hereby approve end accept the
tenes of Gi'oep Poiicy Numbe: LK~%D{§?€ issued by the LIY`E INSL}RANCE COMPAN"{ OF NOR’I`H
AM§§RICA.

This form is to be signed in dupiieate. One part is te be retained by SUPERVALU Ine.; the other past is to
be returned to the LIFE INSURANCE CGMPANY O§` N{}RTH AMBR§CA.

SHPERVALU ine.

Signature and T'itie: Date:

 

(This Copy ls TO Be Retumed To LIFE INSURANCE COMPANY OF NORTH AMERICA)

 

LIFE INSURANCE COMPANY OF NORTH AMERICA
PHILADELPHIA, PA 19192-2235

We, SUPERVALU lnc., Whose main office address is Eden Prairie, MN, hereby approve and accept the
terms of Group Policy Number LK-980076 issued by the LIFE INSURANCE COMPANY OF NORTH
AMERICA.

This form is to be Sig:ned in duplicate One part is to be retained by SUPERVALU Inc.; the other part is to
be returned to the LIFE INSURANCE COMPANY OF NORTH AMERICA.

SUPERVALU Inc.

Signature and Titie: Date;

{’f`his Cop;s is Te Be Retaine::§ 335 SUP§RVALU ine,}

